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                            UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA

THOMAS POWER,                                                Civil Division
           Plaintiff,
                                                             Docket No. 2:17-CV-00154-MRH
v.
                                                             Hon. Mark R. Hornak
HEWLETT-PACKARD COMPANY,
            Defendant.

                        AFFIDAVIT OF WESLEY DALE
       IN SUPPORT OF MOTION IN LIMINE TO PRECLUDE TESTIMONY FROM
                 PLAINTIFF’S EXPERT WILLIAM F. KITZES, J.D.

Wesley Dale, being duly sworn, deposes and says as follows:

1. I am over the age of eighteen (18) years and I believe in the obligations of an oath.

2. I submit this affidavit in support of the Renewed Motion In Limine to Preclude Testimony

     from Plaintiff’s Expert William F. Kitzes, J.D. on the basis of my personal knowledge.

3. I am employed as a Computing Operations Lead by the Defendant, HP, Inc., incorrectly

     named as Hewlett-Packard Company’s (“HP”), in the above-captioned lawsuit.

4. My responsibility as a Computing Operations Lead is to ensure the publication of support

     documentation on HP.com for PC products, including specifications, troubleshooting, how-to,

     and product information.

5. I have personally reviewed an expert report dated October 29, 2020 by William Kitzes, J.D. in

     the above-captioned lawsuit.

6. Based on my personal review of the expert report dated October 29, 2020 by William Kitzes,

     J.D., Mr. Kitzes’ opinions relied upon a document published on HP.com entitled “HP

     Notebook PCs - 601 or 60X Error Displays on a Black Screen.”

7. Specifically, page 11 of the expert report dated October 29, 2020 by William Kitzes, J.D.

     states the following conclusion:


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                 Beginning in late 2008, HP notebook with Unified Extensible
                 Firmware Interface (UEFI) included pop-up message 605 --
                 Battery Counterfeit Check Error when it detects a non-HP battery.
                 User is instructed to contact HP.

      Page 13 states the following conclusion:

                 By late 2008, HP developed a battery authentication system for
                 certain laptops to identify "counterfeit" battery packs, yet the
                 subject HP EliteBook did not include such system to identify non-
                 HP batteries.

8. I personally accessed the Document History of the HP.com document entitled “HP Notebook

  PCs - 601 or 60X Error Displays on a Black Screen” in Concentra, HP’s content management

  system, to which I have personal access as a Computing Operations Lead. That Document

  History is enclosed as Exhibit A hereto.

9. The Document History attached as Exhibit A is a printout of the Document History I

  personally accessed, including versions of the the HP.com document entitled “HP Notebook

  PCs - 601 or 60X Error Displays on a Black Screen” in Concentra, HP’s content management

  system and the dates of those versions.

10.                Based on my prior personal use of and expertise with the Concentra system,

  each of the version numbers is clickable and opens to a view of the properties and content of

  the document for that version.

11.               Based on my prior personal use of and expertise with the Concentra system,

  version number changes indicate that the document content has changed.

12.                I personally accessed Versions 11.0, 12.0, and 13.0 of the of the HP.com

  document entitled “HP Notebook PCs - 601 or 60X Error Displays on a Black Screen” in

  Concentra, HP’s content management system, and referenced in the Document History that I

  personally accessed, and which is attached hereto as Exhibit A. Versions 11.0, 12.0, and 13.0

  of the of the HP.com document entitled “HP Notebook PCs - 601 or 60X Error Displays on a

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  Black Screen” in Concentra, HP’s content management system, are enclosed as Exhibit B

  hereto. Exhibit B comprises the following:

       a. c01443470 Version 13.0.pdf

       i. This is the current version of the document that I personally generated via a preview

          by clicking the current version number in the history.

       b. c01443470 Version 12.0.pdf

       i. This is the immediately prior version of the document that I personally generated via a

          preview by clicking the version number in the history.

       ii. Based on my personal review, comparing this version with the immediately prior

          version, Version 12.0 is first version to contain the ‘605’ error reference.

       iii.    Based on my personal review, this version was published on 29-Sep-2020 23:47.

       c. c01443470 Version 11.0.pdf

       i. This is a prior version of the document that I generated via a preview by clicking the

          version number in the history.

       ii. Based on my personal review, comparing this version with prior and subsequent

          versions, this is the last version published before the error ‘605’ content was added.

       iii.    This version was published 06-Feb-2018 13:46.

13.             Based on my personal review of the Document History of the HP.com

  document entitled “HP Notebook PCs - 601 or 60X Error Displays on a Black Screen” in

  Concentra, HP’s content management system, the version of the document entitled “HP

  Notebook PCs - 601 or 60X Error Displays on a Black Screen” relied upon by Kitzes was first

  published on September 29, 2020.

14.            Based upon my personal experience and expertise as a Computing Operations



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   2015       dm doc           9.0        Doc men e     ac ed on cd +
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  11-No -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   01:49                                  doc men ha been pda ed
  11-No -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:38                                  collec ion ha been pda ed
  07-No -
   2015       dm doc           9.0        Doc men e     ac ed on cd +
   13:48
  07-No -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   01:28                                  doc men ha been pda ed
  07-No -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:14                                  collec ion ha been pda ed
  05-No -
   2015       dm doc           9.0        Doc men e     ac ed on cd +
   21:44
  05-No -     dm doc           9.0        Refe ence info ma ion fo
   2015                                   p od c   ha appl o hi


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   01:01                                  doc men ha been pda ed
  05-No -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   00:54                                  collec ion ha been pda ed
  31-Oc -
   2015       dm doc           9.0        Doc men e     ac ed on cd +
   13:34
  31-Oc -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   02:34                                  doc men ha been pda ed
  31-Oc -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   02:19                                  collec ion ha been pda ed
  29-Oc -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   02:33                                  collec ion ha been pda ed
  24-Oc -
   2015       dm doc           9.0        Doc men e     ac ed on cd +
   12:55
  24-Oc -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   06:38                                  doc men ha been pda ed
  24-Oc -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   05:41                                  collec ion ha been pda ed
  17-Oc -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   03:17                                  collec ion ha been pda ed
  16-Oc -
   2015       dm doc           9.0        Doc men e     ac ed on cd +
   03:05
  15-Oc -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   02:21                                  doc men ha been pda ed
  15-Oc -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   02:09                                  collec ion ha been pda ed
  14-Oc -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   02:50                                  collec ion ha been pda ed
  11-Oc -
   2015       dm doc           9.0        Doc men e     ac ed on cd +
   18:12
  10-Oc -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   06:54                                  doc men ha been pda ed
  10-Oc -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   06:43                                  collec ion ha been pda ed
  09-Oc -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   05:05                                  doc men ha been pda ed
  09-Oc -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   04:53                                  collec ion ha been pda ed
  04-Oc -
   2015       dm doc           9.0        Doc men e     ac ed on cd +
   17:11
  03-Oc -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   06:00                                  doc men ha been pda ed
  03-Oc -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   05:46                                  collec ion ha been pda ed
  01-Oc -
   2015       dm doc           9.0        Doc men e     ac ed on cd +
   03:56
  30-Sep-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   06:13                                  doc men ha been pda ed
  30-Sep-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   05:55                                  collec ion ha been pda ed
  26-Sep-
   2015       dm doc           9.0        Doc men e     ac ed on cd +
   18:09
  26-Sep-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   02:39                                  doc men ha been pda ed
  26-Sep-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   02:32                                  collec ion ha been pda ed
  24-Sep-
   2015       dm doc           9.0        Doc men e     ac ed on cd +
   06:45
  23-Sep-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   02:58                                  doc men ha been pda ed
  23-Sep-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   02:35                                  collec ion ha been pda ed
  22-Sep-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   04:49                                  doc men ha been pda ed
  22-Sep-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   04:01                                  collec ion ha been pda ed
  20-Sep-
   2015       dm doc           9.0        Doc men e     ac ed on cd +
   04:18
  16-Sep-     dm doc           9.0        Refe ence info ma ion fo
   2015                                   p od c   ha appl o hi


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   15:01                                  doc men ha been pda ed
  16-Sep-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   14:24                                  collec ion ha been pda ed
  16-Sep-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   08:07                                  doc men ha been pda ed
  16-Sep-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   07:48                                  collec ion ha been pda ed
  16-Sep-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   07:29                                  doc men ha been pda ed
  16-Sep-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   07:18                                  collec ion ha been pda ed
  16-Sep-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   05:19                                  doc men ha been pda ed
  16-Sep-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   05:07                                  collec ion ha been pda ed
  15-Sep-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   03:45                                  collec ion ha been pda ed
  15-Sep-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:59                                  collec ion ha been pda ed
  10-Sep-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   04:21                                  collec ion ha been pda ed
  10-Sep-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   02:21                                  collec ion ha been pda ed
  09-Sep-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   03:49                                  collec ion ha been pda ed
  08-Sep-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:29                                  collec ion ha been pda ed
  07-Sep-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:30                                  collec ion ha been pda ed
  06-Sep-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:28                                  collec ion ha been pda ed
  05-Sep-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   03:31                                  collec ion ha been pda ed
  04-Sep-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   03:48                                  collec ion ha been pda ed
  04-Sep-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   03:29                                  collec ion ha been pda ed
  20-A g-
   2015       dm doc           9.0        Doc men e     ac ed on cd +
   20:45
  18-A g-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   10:33                                  doc men ha been pda ed
  18-A g-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   02:17                                  collec ion ha been pda ed
  16-A g-
   2015       dm doc           9.0        Doc men e     ac ed on cd +
   08:21
  14-A g-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   19:34                                  doc men ha been pda ed
  14-A g-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   02:45                                  collec ion ha been pda ed
  13-A g-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   23:04                                  doc men ha been pda ed
  13-A g-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   02:58                                  collec ion ha been pda ed
  12-A g-
   2015       dm doc           9.0        Doc men e     ac ed on cd +
   19:42
  11-A g-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   09:25                                  doc men ha been pda ed
  11-A g-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:05                                  collec ion ha been pda ed
  10-A g-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   23:37                                  collec ion ha been pda ed
  10-A g-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   20:05                                  doc men ha been pda ed
  10-A g-
   2015       dm doc           9.0        Doc men e     ac ed on cd +
   13:50
  10-A g-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   04:50                                  collec ion ha been pda ed
  08-A g-     dm doc           9.0        Refe ence info ma ion fo
   2015                                   p od c   ha appl o hi


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   12:34                                  doc men ha been pda ed
  07-A g-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   15:02                                  collec ion ha been pda ed
  31-J l-
   2015       dm doc           9.0        Doc men e     ac ed on cd +
  14:38
  30-J l-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
  02:49                                   doc men ha been pda ed
  30-J l-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
  02:37                                   collec ion ha been pda ed
  26-J l-
   2015       dm doc           9.0        Doc men e     ac ed on cd +
  07:01
  25-J l-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
  11:44                                   doc men ha been pda ed
  25-J l-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
  11:38                                   collec ion ha been pda ed
  25-J l-
   2015       dm doc           9.0        Doc men e     ac ed on cd +
  11:24
  24-J l-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
  03:07                                   doc men ha been pda ed
  24-J l-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
  02:59                                   collec ion ha been pda ed
  19-J l-
   2015       dm doc           9.0        Doc men e     ac ed on cd +
  17:05
  18-J l-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
  05:02                                   doc men ha been pda ed
  18-J l-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
  04:31                                   collec ion ha been pda ed
  14-J l-
   2015       dm doc           9.0        Doc men e     ac ed on cd +
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  13-J l-
   2015       dm doc           9.0        Doc men e     ac ed on cd +
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  11-J l-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
  01:58                                   doc men ha been pda ed
  11-J l-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
  01:52                                   collec ion ha been pda ed
  08-J l-
   2015       dm doc           9.0        Doc men e     ac ed on cd +
  04:20
  07-J l-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
  03:51                                   doc men ha been pda ed
  07-J l-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
  03:18                                   collec ion ha been pda ed
  06-J l-
   2015       dm doc           9.0        Doc men e     ac ed on cd +
  15:45
  05-J l-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
  21:30                                   doc men ha been pda ed
  05-J l-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
  20:56                                   collec ion ha been pda ed
  27-J n-
   2015       dm doc           9.0        Doc men e     ac ed on cd +
   21:58
  27-J n-
   2015       dm doc           9.0        Doc men e     ac ed on cd +
   19:33
  27-J n-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   02:03                                  doc men ha been pda ed
  27-J n-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:57                                  collec ion ha been pda ed
  26-J n-
   2015       dm doc           9.0        Doc men e     ac ed on cd +
   20:21
  26-J n-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   02:00                                  doc men ha been pda ed
  26-J n-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:52                                  collec ion ha been pda ed
  25-J n-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   02:49                                  doc men ha been pda ed
  25-J n-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   02:42                                  collec ion ha been pda ed
  24-J n-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   01:54                                  doc men ha been pda ed
  24-J n-     dm doc                      Refe ence info ma ion fo
   2015                                   p od c   ha appl o hi


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   01:49                                  collec ion ha been pda ed
  21-J n-
   2015       dm doc           9.0        Doc men e    ac ed on cd +
   04:56
  21-J n-
   2015       dm doc           9.0        Doc men e    ac ed on cd +
   02:24
  20-J n-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   02:30                                  doc men ha been pda ed
  20-J n-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   02:22                                  collec ion ha been pda ed
  17-J n-
   2015       dm doc           9.0        Doc men e    ac ed on cd +
   00:23
  16-J n-
   2015       dm doc           9.0        Doc men e    ac ed on cd +
   18:58
  16-J n-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   02:53                                  doc men ha been pda ed
  16-J n-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   02:06                                  collec ion ha been pda ed
  14-J n-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   01:21                                  doc men ha been pda ed
  14-J n-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:18                                  collec ion ha been pda ed
  13-J n-
   2015       dm doc           9.0        Doc men e    ac ed on cd +
   23:22
  13-J n-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   02:23                                  doc men ha been pda ed
  13-J n-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   02:17                                  collec ion ha been pda ed
  13-J n-
   2015       dm doc           9.0        Doc men e    ac ed on cd +
   02:10
  11-J n-
   2015       dm doc           9.0        Doc men e    ac ed on cd +
   05:15
  10-J n-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   01:53                                  doc men ha been pda ed
  10-J n-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:47                                  collec ion ha been pda ed
  09-J n-
   2015       dm doc           9.0        Doc men e    ac ed on cd +
   12:47
  06-J n-
   2015       dm doc           9.0        Doc men e    ac ed on cd +
   19:20
  06-J n-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   03:03                                  doc men ha been pda ed
  06-J n-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   02:57                                  collec ion ha been pda ed
  05-J n-
   2015       dm doc           9.0        Doc men e    ac ed on cd +
   21:01
  05-J n-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   01:44                                  doc men ha been pda ed
  05-J n-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:37                                  collec ion ha been pda ed
  04-J n-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   01:45                                  doc men ha been pda ed
  04-J n-
   2015       dm doc           9.0        Doc men e    ac ed on cd +
   01:44
  04-J n-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:38                                  collec ion ha been pda ed
  03-J n-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   03:35                                  doc men ha been pda ed
  03-J n-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   03:28                                  collec ion ha been pda ed
  31-Ma -
   2015       dm doc           9.0        Doc men e    ac ed on cd +
   18:25
  31-Ma -
   2015       dm doc           9.0        Doc men e    ac ed on cd +
   15:46
  31-Ma -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   05:23                                  doc men ha been pda ed
  31-Ma -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   04:51                                  collec ion ha been pda ed
  28-Ma -     dm doc           9.0        Doc men e    ac ed on cd +
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   02:48
  28-Ma -
   2015       dm doc           9.0        Doc men e        ac ed on cd +
   02:32
  27-Ma -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   02:11                                  doc men ha been pda ed
  27-Ma -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:40                                  collec ion ha been pda ed
  25-Ma -
   2015       dm doc           9.0        Doc men e        ac ed on cd +
   17:06
  25-Ma -
   2015       dm doc           9.0        Doc men e        ac ed on cd +
   14:44
  25-Ma -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   01:26                                  doc men ha been pda ed
  25-Ma -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:19                                  collec ion ha been pda ed
  23-Ma -
   2015       dm doc           9.0        Doc men e        ac ed on cd +
   02:35
  23-Ma -
   2015       dm doc           9.0        Doc men e        ac ed on cd +
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  22-Ma -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   01:49                                  doc men ha been pda ed
  22-Ma -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:42                                  collec ion ha been pda ed
  21-Ma -
   2015       dm doc           9.0        Doc men e        ac ed on cd +
   17:56
  21-Ma -
   2015       dm doc           9.0        Doc men e        ac ed on cd +
   04:08
  20-Ma -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   05:03                                  doc men ha been pda ed
  20-Ma -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   04:08                                  collec ion ha been pda ed
  19-Ma -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   01:31                                  doc men ha been pda ed
  19-Ma -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:20                                  collec ion ha been pda ed
  17-Ma -
   2015       dm doc           9.0        Doc men e        ac ed on cd +
   08:15
  17-Ma -
   2015       dm doc           9.0        Doc men e        ac ed on cd +
   00:34
  16-Ma -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   02:16                                  doc men ha been pda ed
  16-Ma -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   02:08                                  collec ion ha been pda ed
  16-Ma -
   2015       dm doc           9.0        Doc men e        ac ed on cd +
   01:31
  15-Ma -
   2015       dm doc           9.0        Doc men e        ac ed on cd +
   21:45
  15-Ma -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   02:29                                  doc men ha been pda ed
  15-Ma -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   02:22                                  collec ion ha been pda ed
  14-Ma -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   02:11                                  collec ion ha been pda ed
  13-Ma -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   02:35                                  collec ion ha been pda ed
  10-Ma -
                                          Doc men        pda e failed on
   2015       dm doc           9.0        cd +
   18:55
  10-Ma -
   2015       dm doc           9.0        Doc men e        ac ed on cd +
   08:09
  09-Ma -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   02:53                                  doc men ha been pda ed
  09-Ma -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   02:46                                  collec ion ha been pda ed
  08-Ma -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   03:07                                  doc men ha been pda ed
  08-Ma -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   03:00                                  collec ion ha been pda ed
  03-Ma -     dm doc           9.0        Doc men e        ac ed on cd +
   2015


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   12:09
  02-Ma -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   06:12                                  doc men ha been pda ed
  02-Ma -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   06:07                                  collec ion ha been pda ed
  01-Ma -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   05:13                                  collec ion ha been pda ed
  30-Ap -
   2015       dm doc           9.0        Doc men e        ac ed on cd +
   21:27
  30-Ap -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   02:26                                  doc men ha been pda ed
  30-Ap -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   02:15                                  collec ion ha been pda ed
  29-Ap -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   02:23                                  doc men ha been pda ed
  29-Ap -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   02:15                                  collec ion ha been pda ed
  27-Ap -
   2015       dm doc           9.0        Doc men e        ac ed on cd +
   16:32
  26-Ap -
   2015       dm doc           9.0        Doc men e        ac ed on cd +
   17:10
  26-Ap -
                                          Doc men        pda e failed on
   2015       dm doc           9.0        cd +
   14:02
  25-Ap -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   05:06                                  doc men ha been pda ed
  25-Ap -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   04:22                                  collec ion ha been pda ed
  24-Ap -
   2015       dm doc           9.0        Doc men e        ac ed on cd +
   21:48
  24-Ap -
   2015       dm doc           9.0        Doc men e        ac ed on cd +
   08:32
  23-Ap -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   03:04                                  doc men ha been pda ed
  23-Ap -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   02:57                                  collec ion ha been pda ed
  23-Ap -
   2015       dm doc           9.0        Doc men e        ac ed on cd +
   00:54
  22-Ap -
   2015       dm doc           9.0        Doc men e        ac ed on cd +
   16:44
  22-Ap -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   02:12                                  doc men ha been pda ed
  22-Ap -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   02:04                                  collec ion ha been pda ed
  21-Ap -
   2015       dm doc           9.0        Doc men e        ac ed on cd +
   13:12
  21-Ap -
   2015       dm doc           9.0        Doc men e        ac ed on cd +
   04:32
  21-Ap -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   01:55                                  doc men ha been pda ed
  21-Ap -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:30                                  collec ion ha been pda ed
  18-Ap -
   2015       dm doc           9.0        Doc men e        ac ed on cd +
   10:53
  18-Ap -
   2015       dm doc           9.0        Doc men e        ac ed on cd +
   04:20
  17-Ap -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   01:56                                  doc men ha been pda ed
  17-Ap -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:49                                  collec ion ha been pda ed
  16-Ap -
   2015       dm doc           9.0        Doc men e        ac ed on cd +
   21:19
  16-Ap -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   01:53                                  doc men ha been pda ed
  16-Ap -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:43                                  collec ion ha been pda ed
  15-Ap -
   2015       dm doc           9.0        Doc men e        ac ed on cd +
   18:47
  15-Ap -     dm doc           9.0        Refe ence info ma ion fo
   2015                                   p od c   ha appl o hi


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   01:56                                  doc men ha been pda ed
  15-Ap -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:50                                  collec ion ha been pda ed
  14-Ap -
   2015       dm doc           9.0        Doc men e    ac ed on cd +
   17:16
  14-Ap -
   2015       dm doc           9.0        Doc men e    ac ed on cd +
   13:03
  14-Ap -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   02:25                                  doc men ha been pda ed
  14-Ap -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:55                                  collec ion ha been pda ed
  13-Ap -
   2015       dm doc           9.0        Doc men e    ac ed on cd +
   18:15
  13-Ap -
   2015       dm doc           9.0        Doc men e    ac ed on cd +
   06:18
  12-Ap -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   02:20                                  doc men ha been pda ed
  12-Ap -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:45                                  collec ion ha been pda ed
  11-Ap -
   2015       dm doc           9.0        Doc men e    ac ed on cd +
   04:30
  10-Ap -
   2015       dm doc           9.0        Doc men e    ac ed on cd +
   15:04
  10-Ap -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   03:48                                  doc men ha been pda ed
  10-Ap -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   02:52                                  collec ion ha been pda ed
  08-Ap -
   2015       dm doc           9.0        Doc men e    ac ed on cd +
   17:53
  08-Ap -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:47                                  collec ion ha been pda ed
  07-Ap -
   2015       dm doc           9.0        Doc men e    ac ed on cd +
   12:00
  07-Ap -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   02:48                                  doc men ha been pda ed
  07-Ap -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   02:12                                  collec ion ha been pda ed
  05-Ap -
   2015       dm doc           9.0        Doc men e    ac ed on cd +
   20:17
  05-Ap -
   2015       dm doc           9.0        Doc men e    ac ed on cd +
   04:40
  05-Ap -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   03:41                                  doc men ha been pda ed
  05-Ap -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   02:47                                  collec ion ha been pda ed
  03-Ap -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   03:25                                  doc men ha been pda ed
  03-Ap -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   03:18                                  collec ion ha been pda ed
  28-Ma -
   2015       dm doc           9.0        Doc men e    ac ed on cd +
   19:05
  28-Ma -
   2015       dm doc           9.0        Doc men e    ac ed on cd +
   07:38
  27-Ma -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   05:25                                  doc men ha been pda ed
  27-Ma -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   04:08                                  collec ion ha been pda ed
  26-Ma -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   07:21                                  doc men ha been pda ed
  26-Ma -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   07:04                                  collec ion ha been pda ed
  25-Ma -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   03:55                                  doc men ha been pda ed
  25-Ma -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   02:17                                  collec ion ha been pda ed
  25-Ma -
   2015       dm doc           9.0        Doc men e    ac ed on cd +
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  22-Ma -     dm doc           9.0        Doc men e    ac ed on cd +
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   03:10
  21-Ma -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   01:34                                  doc men ha been pda ed
  21-Ma -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:28                                  collec ion ha been pda ed
  20-Ma -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   01:51                                  doc men ha been pda ed
  20-Ma -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:44                                  collec ion ha been pda ed
  19-Ma -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   01:42                                  doc men ha been pda ed
  19-Ma -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:35                                  collec ion ha been pda ed
  18-Ma -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   03:18                                  doc men ha been pda ed
  18-Ma -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   02:33                                  collec ion ha been pda ed
  14-Ma -
   2015       dm doc           9.0        Doc men e     ac ed on cd +
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  13-Ma -
   2015       dm doc           9.0        Doc men e     ac ed on cd +
   21:55
  13-Ma -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:56                                  collec ion ha been pda ed
  12-Ma -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   01:44                                  doc men ha been pda ed
  12-Ma -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:36                                  collec ion ha been pda ed
  11-Ma -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   01:40                                  doc men ha been pda ed
  11-Ma -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:33                                  collec ion ha been pda ed
  10-Ma -
   2015       dm doc           9.0        Doc men e     ac ed on cd +
   22:10
  10-Ma -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   02:32                                  doc men ha been pda ed
  10-Ma -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   02:00                                  collec ion ha been pda ed
  07-Ma -
   2015       dm doc           9.0        Doc men e     ac ed on cd +
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  07-Ma -
   2015       dm doc           9.0        Doc men e     ac ed on cd +
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  06-Ma -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   00:44                                  doc men ha been pda ed
  06-Ma -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   00:38                                  collec ion ha been pda ed
  05-Ma -                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   02:55                                  doc men ha been pda ed
  05-Ma -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   02:47                                  collec ion ha been pda ed
  03-Ma -                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:06                                  collec ion ha been pda ed
  28-Feb-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   00:59                                  collec ion ha been pda ed
  27-Feb-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   20:15                                  collec ion ha been pda ed
  22-Feb-
   2015       dm doc           9.0        Doc men e     ac ed on cd +
   21:58
  20-Feb-
   2015       dm doc           9.0        Doc men e     ac ed on cd +
   01:42
  20-Feb-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:17                                  collec ion ha been pda ed
  19-Feb-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   01:37                                  doc men ha been pda ed
  19-Feb-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:31                                  collec ion ha been pda ed
  15-Feb-
   2015       dm doc           9.0        Doc men e     ac ed on cd +
   03:41
  14-Feb-     dm doc           9.0        Refe ence info ma ion fo
   2015                                   p od c   ha appl o hi


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   01:09                                  doc men ha been pda ed
  14-Feb-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:03                                  collec ion ha been pda ed
  13-Feb-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   01:17                                  doc men ha been pda ed
  13-Feb-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:10                                  collec ion ha been pda ed
  11-Feb-
   2015       dm doc           9.0        Doc men e     ac ed on cd +
   17:32
  10-Feb-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   01:41                                  doc men ha been pda ed
  10-Feb-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   00:55                                  collec ion ha been pda ed
  08-Feb-
   2015       dm doc           9.0        Doc men e     ac ed on cd +
   02:39
  07-Feb-
   2015       dm doc           9.0        Doc men e     ac ed on cd +
   16:59
  07-Feb-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   01:03                                  doc men ha been pda ed
  07-Feb-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   00:55                                  collec ion ha been pda ed
  06-Feb-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   01:29                                  doc men ha been pda ed
  06-Feb-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:19                                  collec ion ha been pda ed
  05-Feb-
   2015       dm doc           9.0        Doc men e     ac ed on cd +
   02:52
  04-Feb-
   2015       dm doc           9.0        Doc men e     ac ed on cd +
   18:14
  04-Feb-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   01:44                                  doc men ha been pda ed
  04-Feb-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:35                                  collec ion ha been pda ed
  03-Feb-
   2015       dm doc           9.0        Doc men e     ac ed on cd +
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  03-Feb-
   2015       dm doc           9.0        Doc men e     ac ed on cd +
   00:06
  02-Feb-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   00:57                                  doc men ha been pda ed
  02-Feb-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   00:48                                  collec ion ha been pda ed
  01-Feb-
   2015       dm doc           9.0        Doc men e     ac ed on cd +
   00:25
  30-Jan-
   2015       dm doc           9.0        Doc men e     ac ed on cd +
   14:43
  30-Jan-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   01:13                                  doc men ha been pda ed
  30-Jan-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:06                                  collec ion ha been pda ed
  29-Jan-
   2015       dm doc           9.0        Doc men e     ac ed on cd +
   21:48
  29-Jan-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   01:20                                  doc men ha been pda ed
  29-Jan-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:10                                  collec ion ha been pda ed
  27-Jan-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   02:02                                  collec ion ha been pda ed
  23-Jan-
   2015       dm doc           9.0        Doc men e     ac ed on cd +
   07:46
  22-Jan-
   2015       dm doc           9.0        Doc men e     ac ed on cd +
   20:16
  22-Jan-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   01:04                                  doc men ha been pda ed
  22-Jan-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   00:55                                  collec ion ha been pda ed
  21-Jan-
   2015       dm doc           9.0        Doc men e     ac ed on cd +
   18:43
  21-Jan-     dm doc           9.0        Refe ence info ma ion fo
   2015                                   p od c   ha appl o hi


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   02:03                                  doc men ha been pda ed
  21-Jan-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:20                                  collec ion ha been pda ed
  17-Jan-
   2015       dm doc           9.0        Doc men e    ac ed on cd +
   23:51
  17-Jan-
   2015       dm doc           9.0        Doc men e    ac ed on cd +
   16:45
  17-Jan-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   01:15                                  doc men ha been pda ed
  17-Jan-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:07                                  collec ion ha been pda ed
  16-Jan-
   2015       dm doc           9.0        Doc men e    ac ed on cd +
   22:13
  16-Jan-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   00:54                                  doc men ha been pda ed
  16-Jan-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   00:47                                  collec ion ha been pda ed
  15-Jan-
   2015       dm doc           9.0        Doc men e    ac ed on cd +
   22:43
  15-Jan-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   01:51                                  doc men ha been pda ed
  15-Jan-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:15                                  collec ion ha been pda ed
  13-Jan-
   2015       dm doc           9.0        Doc men e    ac ed on cd +
   12:53
  13-Jan-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   01:44                                  doc men ha been pda ed
  13-Jan-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:15                                  collec ion ha been pda ed
  10-Jan-
   2015       dm doc           9.0        Doc men e    ac ed on cd +
   05:20
  10-Jan-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   00:42                                  collec ion ha been pda ed
  09-Jan-
   2015       dm doc           9.0        Doc men e    ac ed on cd +
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  09-Jan-                                 Refe ence info ma ion fo
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   01:11                                  doc men ha been pda ed
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   2015       dm doc                      p od c     ha appl o hi
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   2015       dm doc           9.0        Doc men e    ac ed on cd +
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  08-Jan-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   02:42                                  doc men ha been pda ed
  08-Jan-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   02:36                                  collec ion ha been pda ed
  08-Jan-
   2015       dm doc           9.0        Doc men e    ac ed on cd +
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   2015       dm doc           9.0        Doc men e    ac ed on cd +
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  07-Jan-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   01:10                                  doc men ha been pda ed
  07-Jan-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:03                                  collec ion ha been pda ed
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  06-Jan-                                 Refe ence info ma ion fo
   2015       dm doc           9.0        p od c   ha appl o hi
   02:25                                  doc men ha been pda ed
  06-Jan-                                 Refe ence info ma ion fo
   2015       dm doc                      p od c     ha appl o hi
   01:41                                  collec ion ha been pda ed
  05-Jan-
   2015       dm doc           9.0        Doc men e    ac ed on cd +
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   2014       dm doc           9.0        Doc men e    ac ed on cd +
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  31-Dec-                                 Refe ence info ma ion fo
   2014       dm doc           9.0        p od c   ha appl o hi
   00:47                                  doc men ha been pda ed
  31-Dec-                                 Refe ence info ma ion fo
   2014       dm doc                      p od c     ha appl o hi
   00:27                                  collec ion ha been pda ed
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  24-Dec-
   2014       dm doc           9.0        Doc men e     ac ed on cd +
   14:55
  23-Dec-                                 Refe ence info ma ion fo
   2014       dm doc           9.0        p od c   ha appl o hi
   01:55                                  doc men ha been pda ed
  23-Dec-                                 Refe ence info ma ion fo
   2014       dm doc                      p od c     ha appl o hi
   01:21                                  collec ion ha been pda ed
  19-Dec-                                 Refe ence info ma ion fo
   2014       dm doc           9.0        p od c   ha appl o hi
   00:55                                  doc men ha been pda ed
  19-Dec-                                 Refe ence info ma ion fo
   2014       dm doc                      p od c     ha appl o hi
   00:49                                  collec ion ha been pda ed
  18-Dec-                                 Refe ence info ma ion fo
   2014       dm doc           9.0        p od c   ha appl o hi
   01:17                                  doc men ha been pda ed
  18-Dec-                                 Refe ence info ma ion fo
   2014       dm doc                      p od c     ha appl o hi
   01:10                                  collec ion ha been pda ed
  13-Dec-
   2014       dm doc           9.0        Doc men e     ac ed on cd +
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  13-Dec-                                 Refe ence info ma ion fo
   2014       dm doc           9.0        p od c   ha appl o hi
   00:56                                  doc men ha been pda ed
  13-Dec-                                 Refe ence info ma ion fo
   2014       dm doc                      p od c     ha appl o hi
   00:52                                  collec ion ha been pda ed
  12-Dec-                                 Refe ence info ma ion fo
   2014       dm doc           9.0        p od c   ha appl o hi
   01:38                                  doc men ha been pda ed
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  11-Dec-                                 Refe ence info ma ion fo
   2014       dm doc                      p od c     ha appl o hi
   16:38                                  collec ion ha been pda ed
  28-No -
   2014       dm doc           9.0        Doc men e     ac ed on cd +
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  26-No -                                 Refe ence info ma ion fo
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  23-No -
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  20-No -
   2014       dm doc           9.0        Doc men e     ac ed on cd +
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  18-No -                                 Refe ence info ma ion fo
   2014       dm doc           9.0        p od c   ha appl o hi
   02:18                                  doc men ha been pda ed
  18-No -                                 Refe ence info ma ion fo
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   01:45                                  collec ion ha been pda ed
  16-No -
   2014       dm doc           9.0        Doc men e     ac ed on cd +
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  15-No -                                 Refe ence info ma ion fo
   2014       dm doc           9.0        p od c   ha appl o hi
   01:01                                  doc men ha been pda ed
  15-No -                                 Refe ence info ma ion fo
   2014       dm doc                      p od c     ha appl o hi
   00:54                                  collec ion ha been pda ed
  14-No -
   2014       dm doc           9.0        Doc men e     ac ed on cd +
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  07-No -                                 Refe ence info ma ion fo
   2014       dm doc           9.0        p od c   ha appl o hi
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  31-Oc -                                 Refe ence info ma ion fo
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  30-Oc -                                 Refe ence info ma ion fo
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   09:26                                  doc men ha been pda ed
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   2014       dm doc                      p od c     ha appl o hi
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  30-Sep-                                      Refe ence info ma ion fo
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  27-Sep-
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  16-Sep-                                  Refe ence info ma ion fo
   2014       dm doc                       p od c     ha appl o hi
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  13-Sep-                                  Refe ence info ma ion fo
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  06-Sep-                                  Refe ence info ma ion fo
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  31-A g-                                  Refe ence info ma ion fo
   2014       dm doc            8.2        p od c   ha appl o hi
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  29-A g-                                  Refe ence info ma ion fo
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   01:55                                   collec ion ha been pda ed
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   2014       dm doc            8.2        Doc men e     ac ed on cd +
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   01:49                                  collec ion ha been pda ed
  21-A g-
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  15-A g-                                 Refe ence info ma ion fo
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   02:26                                  doc men ha been pda ed
  15-A g-                                 Refe ence info ma ion fo
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   02:18                                  collec ion ha been pda ed
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  14-A g-                                 Refe ence info ma ion fo
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   02:30                                  doc men ha been pda ed
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   10:40                                  collec ion ha been pda ed
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   2013       dm doc           7.0        Doc men e    ac ed on cd +
   16:53
  27-Feb-                                 Refe ence info ma ion fo
   2013       dm doc           7.0        p od c   ha appl o hi
   10:37                                  doc men ha been pda ed
  27-Feb-                                 Refe ence info ma ion fo
   2013       dm doc                      p od c     ha appl o hi
   10:24                                  collec ion ha been pda ed
  26-Feb-
   2013       dm doc           7.0        Doc men e    ac ed on cd +
   21:33
  26-Feb-                                 Refe ence info ma ion fo
   2013       dm doc           7.0        p od c   ha appl o hi
   12:12                                  doc men ha been pda ed


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  26-Feb-                                   Refe ence info ma ion fo
   2013       dm doc                        p od c     ha appl o hi
   12:01                                    collec ion ha been pda ed
  23-Feb-
   2013       dm doc             7.0        Doc men e     ac ed on cd +
   22:38
  23-Feb-                                   Refe ence info ma ion fo
   2013       dm doc             7.0        p od c   ha appl o hi
   09:16                                    doc men ha been pda ed
  23-Feb-                                   Refe ence info ma ion fo
   2013       dm doc                        p od c     ha appl o hi
   09:03                                    collec ion ha been pda ed
  21-Feb-
   2013       dm doc             7.0        Doc men e     ac ed on cd +
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  21-Feb-                                   Refe ence info ma ion fo
   2013       dm doc             7.0        p od c   ha appl o hi
   03:16                                    doc men ha been pda ed
  21-Feb-                                   Refe ence info ma ion fo
   2013       dm doc                        p od c     ha appl o hi
   02:38                                    collec ion ha been pda ed
  15-Feb-
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  15-Feb-                                   C en a k App o e
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  01-Feb-                                   Refe ence info ma ion fo
   2013       dm doc                        p od c     ha appl o hi
   00:40                                    collec ion ha been pda ed
  25-Jan-
   2013       dm doc             6.0        Doc men e     ac ed on cd +
   23:07
  25-Jan-                                   Refe ence info ma ion fo
   2013       dm doc             6.0        p od c   ha appl o hi
   01:42                                    doc men ha been pda ed
  25-Jan-                                   Refe ence info ma ion fo
   2013       dm doc                        p od c     ha appl o hi
   00:57                                    collec ion ha been pda ed
  21-Dec-
   2012       dm doc             6.0        Doc men e     ac ed on cd +
   08:06
  20-Dec-                                   Refe ence info ma ion fo
   2012       dm doc             6.0        p od c   ha appl o hi
   00:55                                    doc men ha been pda ed
  20-Dec-                                   Refe ence info ma ion fo
   2012       dm doc                        p od c     ha appl o hi
   00:43                                    collec ion ha been pda ed
  11-Dec-
   2012       dm doc             6.0        Doc men e     ac ed on cd +
   08:39
  11-Dec-                                   Refe ence info ma ion fo
   2012       dm doc             6.0        p od c   ha appl o hi
   01:57                                    doc men ha been pda ed
  11-Dec-                                   Refe ence info ma ion fo
   2012       dm doc                        p od c     ha appl o hi
   01:43                                    collec ion ha been pda ed
  07-Dec-
   2012       dm doc             6.0        Doc men e     ac ed on cd +
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  06-Dec-                                   Refe ence info ma ion fo
   2012       dm doc             6.0        p od c   ha appl o hi
   02:56                                    doc men ha been pda ed
  06-Dec-                                   Refe ence info ma ion fo
   2012       dm doc                        p od c     ha appl o hi
   02:38                                    collec ion ha been pda ed
  02-Dec-
   2012       dm doc             6.0        Doc men e     ac ed on cd +
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  02-Dec-                                   Refe ence info ma ion fo
   2012       dm doc             6.0        p od c   ha appl o hi
   11:16                                    doc men ha been pda ed
  02-Dec-                                   Refe ence info ma ion fo
   2012       dm doc                        p od c     ha appl o hi
   10:22                                    collec ion ha been pda ed
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  01-Dec-                                   Refe ence info ma ion fo
   2012       dm doc             6.0        p od c   ha appl o hi
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  01-Dec-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   03:03                                  collec ion ha been pda ed
  22-No -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
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  22-No -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   00:24                                  doc men ha been pda ed
  22-No -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
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  21-No -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   08:10                                  collec ion ha been pda ed
  16-No -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   12:30
  15-No -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   15:57                                  doc men ha been pda ed
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  09-No -
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   17:09                                  collec ion ha been pda ed
  26-Oc -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
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  26-Oc -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   18:56                                  doc men ha been pda ed
  26-Oc -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   18:10                                  collec ion ha been pda ed
  25-Oc -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
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  24-Oc -                                 Refe ence info ma ion fo
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   18:10                                  doc men ha been pda ed
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   2012       dm doc                      p od c     ha appl o hi
   17:13                                  collec ion ha been pda ed
  21-Oc -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
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  20-Oc -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   23:47                                  doc men ha been pda ed
  20-Oc -                                 Refe ence info ma ion fo
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   22:01                                  collec ion ha been pda ed
  19-Oc -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   02:24                                  collec ion ha been pda ed
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  08-Oc -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
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  08-Oc -                                 Refe ence info ma ion fo
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   02:46                                  doc men ha been pda ed
  08-Oc -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   02:01                                  collec ion ha been pda ed
  04-Oc -
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   01:33                                  doc men ha been pda ed
  04-Oc -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   00:57                                  collec ion ha been pda ed
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   2012       dm doc                      p od c     ha appl o hi
   00:41                                  collec ion ha been pda ed
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  28-Sep-                                 Refe ence info ma ion fo
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  28-Sep-
   2012       dm doc           6.0        Doc men e    ac ed on cd +
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  28-Sep-                                 Refe ence info ma ion fo
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  24-Sep-                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   01:59                                  doc men ha been pda ed
  24-Sep-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   01:03                                  collec ion ha been pda ed
  22-Sep-                                 Refe ence info ma ion fo
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   09:14                                  collec ion ha been pda ed
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  18-Sep-                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
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  18-Sep-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
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   2012       dm doc                      p od c     ha appl o hi
   01:01                                  collec ion ha been pda ed
  10-Sep-
   2012       dm doc           6.0        Doc men e    ac ed on cd +
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  10-Sep-                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   09:22                                  doc men ha been pda ed
  10-Sep-                                 Refe ence info ma ion fo
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   09:15                                  collec ion ha been pda ed
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  27-A g-                                 Refe ence info ma ion fo
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   00:41                                  collec ion ha been pda ed
  25-A g-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   00:32                                  collec ion ha been pda ed
  21-A g-
   2012       dm doc           6.0        Doc men e    ac ed on cd +
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  21-A g-                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
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   2012       dm doc                      p od c     ha appl o hi
   00:30                                  collec ion ha been pda ed
  19-A g-
   2012       dm doc           6.0        Doc men e    ac ed on cd +
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   2012       dm doc                      p od c     ha appl o hi
   00:27                                  collec ion ha been pda ed
  17-A g-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   01:04                                  collec ion ha been pda ed
  13-A g-
   2012       dm doc           6.0        Doc men e    ac ed on cd +
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  13-A g-                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   01:45                                  doc men ha been pda ed
  13-A g-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   01:05                                  collec ion ha been pda ed
  11-A g-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
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  09-A g-
   2012       dm doc             6.0        Doc men e    ac ed on cd +
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  09-A g-                                   Refe ence info ma ion fo
   2012       dm doc             6.0        p od c   ha appl o hi
   09:25                                    doc men ha been pda ed
  09-A g-                                   Refe ence info ma ion fo
   2012       dm doc                        p od c     ha appl o hi
   09:17                                    collec ion ha been pda ed
  05-A g-
   2012       dm doc             6.0        Doc men e    ac ed on cd +
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  05-A g-                                   Refe ence info ma ion fo
   2012       dm doc             6.0        p od c   ha appl o hi
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  03-A g-                                   Refe ence info ma ion fo
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  03-A g-                                   Refe ence info ma ion fo
   2012       dm doc                        p od c     ha appl o hi
   00:22                                    collec ion ha been pda ed
  01-A g-
   2012       dm doc             6.0        Doc men e    ac ed on cd +
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  31-J l-                                   Refe ence info ma ion fo
   2012       dm doc             6.0        p od c   ha appl o hi
  23:37                                     doc men ha been pda ed
  31-J l-                                   Refe ence info ma ion fo
   2012       dm doc                        p od c     ha appl o hi
  23:24                                     collec ion ha been pda ed
  30-J l-
   2012       dm doc             6.0        Doc men e    ac ed on cd +
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  29-J l-                                   Refe ence info ma ion fo
   2012       dm doc             6.0        p od c   ha appl o hi
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   2012       dm doc                        p od c     ha appl o hi
  23:02                                     collec ion ha been pda ed
  18-J l-                                   Refe ence info ma ion fo
   2012       dm doc                        p od c     ha appl o hi
  11:59                                     collec ion ha been pda ed
  16-J l-
   2012       dm doc             6.0        Doc men e    ac ed on cd +
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  16-J l-                                   Refe ence info ma ion fo
   2012       dm doc             6.0        p od c   ha appl o hi
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   2012       dm doc                        p od c     ha appl o hi
  23:47                                     collec ion ha been pda ed
  14-J l-                                   Refe ence info ma ion fo
   2012       dm doc                        p od c     ha appl o hi
  09:33                                     collec ion ha been pda ed
  09-J l-                                   Refe ence info ma ion fo
   2012       dm doc                        p od c     ha appl o hi
  11:24                                     collec ion ha been pda ed
  04-J l-                                   Refe ence info ma ion fo
   2012       dm doc                        p od c     ha appl o hi
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   2012       dm doc             6.0        Doc men e    ac ed on cd +
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  27-J n-                                   Refe ence info ma ion fo
   2012       dm doc             6.0        p od c   ha appl o hi
   17:12                                    doc men ha been pda ed
  27-J n-                                   Refe ence info ma ion fo
   2012       dm doc                        p od c     ha appl o hi
   17:05                                    collec ion ha been pda ed
  27-J n-                                   Refe ence info ma ion fo
   2012       dm doc                        p od c     ha appl o hi
   15:43                                    collec ion ha been pda ed
  25-J n-
   2012       dm doc             6.0        Doc men e    ac ed on cd +
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  24-J n-                                   Refe ence info ma ion fo
   2012       dm doc             6.0        p od c   ha appl o hi
   09:58                                    doc men ha been pda ed
  24-J n-                                   Refe ence info ma ion fo
   2012       dm doc                        p od c     ha appl o hi
   09:13                                    collec ion ha been pda ed
  24-J n-
   2012       dm doc             6.0        Doc men e    ac ed on cd +
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  23-J n-                                   Refe ence info ma ion fo
   2012       dm doc             6.0        p od c   ha appl o hi
   09:48                                    doc men ha been pda ed
  23-J n-                                   Refe ence info ma ion fo
   2012       dm doc                        p od c     ha appl o hi
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  22-J n-
   2012       dm doc             6.0        Doc men e    ac ed on cd +
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  17-J n-                                   Refe ence info ma ion fo
   2012       dm doc                        p od c     ha appl o hi
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   2012       dm doc             6.0        Doc men e    ac ed on cd +
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   2012       dm doc             6.0        Doc men e    ac ed on cd +
   20:26
  10-J n-                                   Refe ence info ma ion fo
   2012       dm doc             6.0        p od c   ha appl o hi
   10:11                                    doc men ha been pda ed
  10-J n-                                   Refe ence info ma ion fo
   2012       dm doc                        p od c     ha appl o hi
   09:21                                    collec ion ha been pda ed
  09-J n-
   2012       dm doc             6.0        Doc men e    ac ed on cd +
   15:22
  09-J n-                                   Refe ence info ma ion fo
   2012       dm doc             6.0        p od c   ha appl o hi
   10:30                                    doc men ha been pda ed
  09-J n-                                   Refe ence info ma ion fo
   2012       dm doc                        p od c     ha appl o hi
   09:50                                    collec ion ha been pda ed
  08-J n-
   2012       dm doc             6.0        Doc men e    ac ed on cd +
   14:51
  07-J n-                                   Refe ence info ma ion fo
   2012       dm doc             6.0        p od c   ha appl o hi
   11:02                                    doc men ha been pda ed
  07-J n-                                   Refe ence info ma ion fo
   2012       dm doc                        p od c     ha appl o hi
   10:16                                    collec ion ha been pda ed
  06-J n-
   2012       dm doc             6.0        Doc men e    ac ed on cd +
   12:53
  06-J n-                                   Refe ence info ma ion fo
   2012       dm doc             6.0        p od c   ha appl o hi
   10:58                                    doc men ha been pda ed
  06-J n-                                   Refe ence info ma ion fo
   2012       dm doc                        p od c     ha appl o hi
   10:11                                    collec ion ha been pda ed
  03-J n-
   2012       dm doc             6.0        Doc men e    ac ed on cd +
   22:36
  03-J n-                                   Refe ence info ma ion fo
   2012       dm doc             6.0        p od c   ha appl o hi
   16:21                                    doc men ha been pda ed
  03-J n-                                   Refe ence info ma ion fo
   2012       dm doc                        p od c     ha appl o hi
   15:34                                    collec ion ha been pda ed


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  02-J n-
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   00:02
  01-J n-                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   13:11                                  doc men ha been pda ed
  01-J n-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   12:22                                  collec ion ha been pda ed
  31-Ma -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   03:51
  30-Ma -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   19:25                                  doc men ha been pda ed
  30-Ma -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   19:13                                  collec ion ha been pda ed
  29-Ma -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   21:05
  29-Ma -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   09:30                                  doc men ha been pda ed
  29-Ma -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   09:20                                  collec ion ha been pda ed
  28-Ma -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   06:02
  27-Ma -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   17:14                                  doc men ha been pda ed
  27-Ma -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   16:26                                  collec ion ha been pda ed
  27-Ma -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   00:05
  26-Ma -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   16:59                                  doc men ha been pda ed
  26-Ma -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   16:06                                  collec ion ha been pda ed
  25-Ma -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   03:17
  24-Ma -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   10:31                                  doc men ha been pda ed
  24-Ma -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   09:41                                  collec ion ha been pda ed
  23-Ma -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   09:50                                  collec ion ha been pda ed
  20-Ma -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   12:33
  20-Ma -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   11:33                                  doc men ha been pda ed
  20-Ma -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   10:32                                  collec ion ha been pda ed
  18-Ma -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   12:20
  18-Ma -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   10:43                                  doc men ha been pda ed
  18-Ma -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   09:57                                  collec ion ha been pda ed
  17-Ma -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   11:53
  16-Ma -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   13:32                                  doc men ha been pda ed
  16-Ma -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   13:17                                  collec ion ha been pda ed
  16-Ma -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   10:34                                  doc men ha been pda ed
  16-Ma -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   09:43                                  collec ion ha been pda ed
  14-Ma -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   16:23                                  collec ion ha been pda ed
  10-Ma -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   14:32
  10-Ma -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   10:02                                  doc men ha been pda ed
  10-Ma -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   09:20                                  collec ion ha been pda ed


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  09-Ma -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   17:49                                  doc men ha been pda ed
  09-Ma -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   17:42                                  collec ion ha been pda ed
  09-Ma -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   16:03                                  doc men ha been pda ed
  09-Ma -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   15:20                                  collec ion ha been pda ed
  06-Ma -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   19:24
  06-Ma -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   17:12                                  doc men ha been pda ed
  06-Ma -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   16:21                                  collec ion ha been pda ed
  04-Ma -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   03:39
  03-Ma -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   16:36                                  doc men ha been pda ed
  03-Ma -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   16:30                                  collec ion ha been pda ed
  03-Ma -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   15:51                                  doc men ha been pda ed
  03-Ma -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   15:26                                  collec ion ha been pda ed
  02-Ma -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   19:32
  02-Ma -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   10:05                                  doc men ha been pda ed
  02-Ma -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   09:25                                  collec ion ha been pda ed
  29-Ap -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   20:57
  29-Ap -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   11:27                                  doc men ha been pda ed
  29-Ap -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   10:40                                  collec ion ha been pda ed
  26-Ap -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   19:02
  26-Ap -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   16:00                                  doc men ha been pda ed
  26-Ap -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   15:17                                  collec ion ha been pda ed
  26-Ap -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   01:34
  25-Ap -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   19:22                                  doc men ha been pda ed
  25-Ap -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   19:14                                  collec ion ha been pda ed
  25-Ap -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   11:19
  25-Ap -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   10:16                                  doc men ha been pda ed
  25-Ap -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   09:28                                  collec ion ha been pda ed
  21-Ap -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   14:58
  21-Ap -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   10:33                                  doc men ha been pda ed
  21-Ap -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   09:42                                  collec ion ha been pda ed
  20-Ap -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   21:11
  20-Ap -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   10:55                                  doc men ha been pda ed
  20-Ap -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   10:22                                  collec ion ha been pda ed
  19-Ap -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   10:16                                  doc men ha been pda ed


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  19-Ap -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   09:30                                  collec ion ha been pda ed
  18-Ap -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   13:38                                  doc men ha been pda ed
  18-Ap -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   13:28                                  collec ion ha been pda ed
  18-Ap -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   11:56                                  doc men ha been pda ed
  18-Ap -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   10:54                                  collec ion ha been pda ed
  16-Ap -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   09:45
  15-Ap -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   09:56                                  doc men ha been pda ed
  15-Ap -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   09:08                                  collec ion ha been pda ed
  14-Ap -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   05:02
  13-Ap -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   09:37                                  doc men ha been pda ed
  13-Ap -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   08:52                                  collec ion ha been pda ed
  12-Ap -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   13:23                                  doc men ha been pda ed
  12-Ap -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   13:14                                  collec ion ha been pda ed
  12-Ap -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   09:28                                  doc men ha been pda ed
  12-Ap -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   08:51                                  collec ion ha been pda ed
  11-Ap -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   20:14
  11-Ap -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   15:30                                  doc men ha been pda ed
  11-Ap -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   14:54                                  collec ion ha been pda ed
  10-Ap -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   17:07
  09-Ap -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   09:43                                  doc men ha been pda ed
  09-Ap -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   08:53                                  collec ion ha been pda ed
  07-Ap -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   08:44                                  collec ion ha been pda ed
  06-Ap -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   22:14
  06-Ap -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   05:31                                  doc men ha been pda ed
  06-Ap -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   04:47                                  collec ion ha been pda ed
  05-Ap -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   07:36                                  doc men ha been pda ed
  05-Ap -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   06:31                                  collec ion ha been pda ed
  05-Ap -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   02:44                                  collec ion ha been pda ed
  29-Ma -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   12:04
  28-Ma -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   17:14                                  doc men ha been pda ed
  28-Ma -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   16:59                                  collec ion ha been pda ed
  28-Ma -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   15:48                                  doc men ha been pda ed
  28-Ma -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   15:00                                  collec ion ha been pda ed
  26-Ma -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
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  26-Ma -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   10:26                                  doc men ha been pda ed
  26-Ma -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   09:35                                  collec ion ha been pda ed
  24-Ma -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   19:41
  24-Ma -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   09:40                                  doc men ha been pda ed
  24-Ma -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   08:52                                  collec ion ha been pda ed
  23-Ma -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   01:36
  22-Ma -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   10:22
  22-Ma -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   10:08                                  doc men ha been pda ed
  22-Ma -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   09:22                                  collec ion ha been pda ed
  21-Ma -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   17:26                                  doc men ha been pda ed
  21-Ma -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   17:12                                  collec ion ha been pda ed
  21-Ma -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   16:04                                  doc men ha been pda ed
  21-Ma -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   15:21                                  collec ion ha been pda ed
  18-Ma -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   09:57                                  collec ion ha been pda ed
  17-Ma -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   14:12
  16-Ma -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   00:14
  15-Ma -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   10:35                                  doc men ha been pda ed
  15-Ma -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   09:38                                  collec ion ha been pda ed
  14-Ma -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   13:42
  14-Ma -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   13:16                                  doc men ha been pda ed
  14-Ma -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   13:10                                  collec ion ha been pda ed
  09-Ma -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   17:03
  09-Ma -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   09:55                                  doc men ha been pda ed
  09-Ma -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   09:10                                  collec ion ha been pda ed
  08-Ma -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   12:18                                  doc men ha been pda ed
  08-Ma -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   12:10                                  collec ion ha been pda ed
  07-Ma -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   20:02
  07-Ma -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   08:54                                  doc men ha been pda ed
  07-Ma -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   08:13                                  collec ion ha been pda ed
  06-Ma -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   02:33
  05-Ma -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   15:10                                  doc men ha been pda ed
  05-Ma -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   14:55                                  collec ion ha been pda ed
  05-Ma -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   00:31
  04-Ma -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   12:58                                  doc men ha been pda ed


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  04-Ma -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   12:11                                  collec ion ha been pda ed
  03-Ma -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   10:14                                  doc men ha been pda ed
  03-Ma -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   09:16                                  collec ion ha been pda ed
  02-Ma -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   14:55
  02-Ma -                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   12:20                                  doc men ha been pda ed
  02-Ma -                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   12:14                                  collec ion ha been pda ed
  01-Ma -
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   03:20
  29-Feb-                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   18:18                                  doc men ha been pda ed
  29-Feb-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   18:12                                  collec ion ha been pda ed
  27-Feb-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   08:48                                  collec ion ha been pda ed
  25-Feb-
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   20:14
  24-Feb-                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   16:27                                  doc men ha been pda ed
  24-Feb-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   15:43                                  collec ion ha been pda ed
  24-Feb-
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   04:36
  23-Feb-                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   13:11                                  doc men ha been pda ed
  23-Feb-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   13:03                                  collec ion ha been pda ed
  23-Feb-                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   11:23                                  doc men ha been pda ed
  23-Feb-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   10:22                                  collec ion ha been pda ed
  20-Feb-
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   15:49
  19-Feb-                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   10:14                                  doc men ha been pda ed
  19-Feb-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   09:10                                  collec ion ha been pda ed
  17-Feb-
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   21:18
  17-Feb-                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   10:59                                  doc men ha been pda ed
  17-Feb-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   10:04                                  collec ion ha been pda ed
  16-Feb-                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   12:19                                  doc men ha been pda ed
  16-Feb-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   12:13                                  collec ion ha been pda ed
  15-Feb-                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   16:43                                  doc men ha been pda ed
  15-Feb-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   15:47                                  collec ion ha been pda ed
  13-Feb-
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   21:23
  13-Feb-                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   10:20                                  doc men ha been pda ed
  13-Feb-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   09:21                                  collec ion ha been pda ed
  11-Feb-
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   22:05
  11-Feb-                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   10:18                                  doc men ha been pda ed
  11-Feb-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   09:38                                  collec ion ha been pda ed


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  10-Feb-
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   18:40
  09-Feb-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   09:29                                  collec ion ha been pda ed
  08-Feb-                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   09:28                                  doc men ha been pda ed
  08-Feb-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   09:20                                  collec ion ha been pda ed
  06-Feb-
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   14:05
  05-Feb-                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   08:54                                  doc men ha been pda ed
  05-Feb-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   08:45                                  collec ion ha been pda ed
  04-Feb-
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   10:53
  04-Feb-                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   09:14                                  doc men ha been pda ed
  04-Feb-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   08:53                                  collec ion ha been pda ed
  02-Feb-                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   12:18                                  doc men ha been pda ed
  02-Feb-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   12:13                                  collec ion ha been pda ed
  02-Feb-                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   09:56                                  doc men ha been pda ed
  02-Feb-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   09:37                                  collec ion ha been pda ed
  01-Feb-
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   12:02
  01-Feb-                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   10:50                                  doc men ha been pda ed
  01-Feb-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   10:46                                  collec ion ha been pda ed
  01-Feb-                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   09:31                                  doc men ha been pda ed
  01-Feb-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   09:10                                  collec ion ha been pda ed
  29-Jan-                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   07:57                                  doc men ha been pda ed
  29-Jan-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   07:38                                  collec ion ha been pda ed
  28-Jan-                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   10:45                                  doc men ha been pda ed
  28-Jan-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   10:26                                  collec ion ha been pda ed
  26-Jan-                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   08:30                                  doc men ha been pda ed
  26-Jan-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   08:21                                  collec ion ha been pda ed
  25-Jan-                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   08:35                                  doc men ha been pda ed
  25-Jan-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   08:25                                  collec ion ha been pda ed
  23-Jan-
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   23:17
  23-Jan-                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   08:06                                  doc men ha been pda ed
  23-Jan-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   07:50                                  collec ion ha been pda ed
  20-Jan-                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   18:21                                  doc men ha been pda ed
  20-Jan-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   18:17                                  collec ion ha been pda ed
  18-Jan-                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   18:26                                  doc men ha been pda ed
  18-Jan-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   18:22                                  collec ion ha been pda ed


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  18-Jan-                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   08:13                                  doc men ha been pda ed
  18-Jan-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   08:09                                  collec ion ha been pda ed
  15-Jan-
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   16:25
  15-Jan-                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   09:09                                  doc men ha been pda ed
  15-Jan-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   08:10                                  collec ion ha been pda ed
  13-Jan-                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   12:17                                  doc men ha been pda ed
  13-Jan-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   12:12                                  collec ion ha been pda ed
  12-Jan-                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   12:20                                  doc men ha been pda ed
  12-Jan-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   12:15                                  collec ion ha been pda ed
  12-Jan-
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   10:53
  11-Jan-                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   10:10                                  doc men ha been pda ed
  11-Jan-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   09:28                                  collec ion ha been pda ed
  09-Jan-
   2012       dm doc           6.0        Doc men e    ac ed on cd +
   03:09
  08-Jan-                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   08:47                                  doc men ha been pda ed
  08-Jan-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   08:03                                  collec ion ha been pda ed
  07-Jan-                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   09:45                                  doc men ha been pda ed
  07-Jan-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   09:10                                  collec ion ha been pda ed
  06-Jan-                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   09:12                                  doc men ha been pda ed
  06-Jan-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   08:31                                  collec ion ha been pda ed
  06-Jan-
   2012       dm doc           6.0        Doc men e    ac ed on cd +
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  05-Jan-                                 Refe ence info ma ion fo
   2012       dm doc           6.0        p od c   ha appl o hi
   10:13                                  doc men ha been pda ed
  05-Jan-                                 Refe ence info ma ion fo
   2012       dm doc                      p od c     ha appl o hi
   09:19                                  collec ion ha been pda ed
  31-Dec-
   2011       dm doc           6.0        Doc men e    ac ed on cd +
   16:32
  31-Dec-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   08:04                                  doc men ha been pda ed
  31-Dec-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   07:30                                  collec ion ha been pda ed
  31-Dec-
   2011       dm doc           6.0        Doc men e    ac ed on cd +
   05:35
  30-Dec-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   08:28                                  doc men ha been pda ed
  30-Dec-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   08:02                                  collec ion ha been pda ed
  29-Dec-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   08:03                                  doc men ha been pda ed
  29-Dec-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   07:39                                  collec ion ha been pda ed
  28-Dec-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   12:27                                  doc men ha been pda ed
  28-Dec-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   12:13                                  collec ion ha been pda ed
  28-Dec-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   09:18                                  doc men ha been pda ed
  28-Dec-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   08:47                                  collec ion ha been pda ed


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  27-Dec-
   2011       dm doc           6.0        Doc men e    ac ed on cd +
   14:44
  27-Dec-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   12:24                                  doc men ha been pda ed
  27-Dec-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   12:13                                  collec ion ha been pda ed
  24-Dec-
   2011       dm doc           6.0        Doc men e    ac ed on cd +
   14:34
  24-Dec-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   07:43                                  doc men ha been pda ed
  24-Dec-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   07:19                                  collec ion ha been pda ed
  23-Dec-
   2011       dm doc           6.0        Doc men e    ac ed on cd +
   11:19
  23-Dec-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   09:26                                  doc men ha been pda ed
  23-Dec-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   08:41                                  collec ion ha been pda ed
  21-Dec-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   15:14                                  collec ion ha been pda ed
  14-Dec-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   08:51                                  doc men ha been pda ed
  14-Dec-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   08:05                                  collec ion ha been pda ed
  11-Dec-
   2011       dm doc           6.0        Doc men e    ac ed on cd +
   14:21
  11-Dec-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   08:45                                  doc men ha been pda ed
  11-Dec-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   07:56                                  collec ion ha been pda ed
  10-Dec-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   08:25                                  collec ion ha been pda ed
  09-Dec-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   08:59                                  doc men ha been pda ed
  09-Dec-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   08:41                                  collec ion ha been pda ed
  08-Dec-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   16:04                                  doc men ha been pda ed
  08-Dec-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   15:55                                  collec ion ha been pda ed
  08-Dec-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   08:49                                  doc men ha been pda ed
  08-Dec-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   08:28                                  collec ion ha been pda ed
  07-Dec-
   2011       dm doc           6.0        Doc men e    ac ed on cd +
   15:14
  07-Dec-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   13:55                                  doc men ha been pda ed
  07-Dec-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   13:50                                  collec ion ha been pda ed
  07-Dec-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   08:53                                  doc men ha been pda ed
  07-Dec-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   08:27                                  collec ion ha been pda ed
  04-Dec-
   2011       dm doc           6.0        Doc men e    ac ed on cd +
   18:04
  04-Dec-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   08:57                                  doc men ha been pda ed
  04-Dec-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   08:36                                  collec ion ha been pda ed
  03-Dec-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   08:00                                  collec ion ha been pda ed
  02-Dec-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   09:19                                  doc men ha been pda ed
  02-Dec-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   09:05                                  collec ion ha been pda ed
  01-Dec-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   08:47                                  doc men ha been pda ed


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  01-Dec-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   08:35                                  collec ion ha been pda ed
  30-No -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   09:22                                  collec ion ha been pda ed
  25-No -
   2011       dm doc           6.0        Doc men e    ac ed on cd +
   22:36
  25-No -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   09:04                                  doc men ha been pda ed
  25-No -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   08:55                                  collec ion ha been pda ed
  25-No -
   2011       dm doc           6.0        Doc men e    ac ed on cd +
   07:16
  24-No -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   09:25                                  doc men ha been pda ed
  24-No -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   09:01                                  collec ion ha been pda ed
  23-No -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   09:56                                  doc men ha been pda ed
  23-No -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   09:34                                  collec ion ha been pda ed
  22-No -
   2011       dm doc           6.0        Doc men e    ac ed on cd +
   01:38
  20-No -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   07:55                                  doc men ha been pda ed
  20-No -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   07:30                                  collec ion ha been pda ed
  19-No -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   08:52                                  collec ion ha been pda ed
  18-No -
   2011       dm doc           6.0        Doc men e    ac ed on cd +
   17:44
  18-No -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   16:38                                  doc men ha been pda ed
  18-No -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   16:16                                  collec ion ha been pda ed
  17-No -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   13:38                                  doc men ha been pda ed
  17-No -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   13:21                                  collec ion ha been pda ed
  17-No -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   08:57                                  doc men ha been pda ed
  17-No -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   08:33                                  collec ion ha been pda ed
  16-No -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   09:58                                  doc men ha been pda ed
  16-No -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   09:28                                  collec ion ha been pda ed
  16-No -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   08:43                                  doc men ha been pda ed
  16-No -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   08:28                                  collec ion ha been pda ed
  13-No -
   2011       dm doc           6.0        Doc men e    ac ed on cd +
   19:57
  13-No -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   07:30                                  doc men ha been pda ed
  13-No -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   07:15                                  collec ion ha been pda ed
  12-No -
   2011       dm doc           6.0        Doc men e    ac ed on cd +
   16:20
  12-No -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   08:28                                  doc men ha been pda ed
  12-No -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   08:06                                  collec ion ha been pda ed
  11-No -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   12:57                                  doc men ha been pda ed
  11-No -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   12:42                                  collec ion ha been pda ed
  11-No -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   09:20                                  doc men ha been pda ed


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  11-No -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   09:04                                  collec ion ha been pda ed
  10-No -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   08:19                                  doc men ha been pda ed
  10-No -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   07:58                                  collec ion ha been pda ed
  09-No -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   11:24                                  doc men ha been pda ed
  09-No -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   10:56                                  collec ion ha been pda ed
  06-No -
   2011       dm doc           6.0        Doc men e    ac ed on cd +
   18:53
  06-No -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   08:12                                  doc men ha been pda ed
  06-No -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   07:52                                  collec ion ha been pda ed
  05-No -
   2011       dm doc           6.0        Doc men e    ac ed on cd +
   20:00
  05-No -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   08:46                                  doc men ha been pda ed
  05-No -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   08:26                                  collec ion ha been pda ed
  04-No -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   16:41                                  doc men ha been pda ed
  04-No -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   16:31                                  collec ion ha been pda ed
  04-No -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   15:12                                  doc men ha been pda ed
  04-No -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   14:46                                  collec ion ha been pda ed
  03-No -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   10:12                                  doc men ha been pda ed
  03-No -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   09:49                                  collec ion ha been pda ed
  02-No -
   2011       dm doc           6.0        Doc men e    ac ed on cd +
   19:34
  02-No -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   15:33                                  doc men ha been pda ed
  02-No -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   15:18                                  collec ion ha been pda ed
  02-No -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   09:42                                  doc men ha been pda ed
  02-No -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   09:30                                  collec ion ha been pda ed
  30-Oc -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   08:23                                  collec ion ha been pda ed
  29-Oc -
   2011       dm doc           6.0        Doc men e    ac ed on cd +
   20:00
  29-Oc -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   08:50                                  doc men ha been pda ed
  29-Oc -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   08:39                                  collec ion ha been pda ed
  28-Oc -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   10:58                                  doc men ha been pda ed
  28-Oc -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   10:46                                  collec ion ha been pda ed
  28-Oc -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   09:31                                  doc men ha been pda ed
  28-Oc -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   09:06                                  collec ion ha been pda ed
  27-Oc -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   14:24                                  doc men ha been pda ed
  27-Oc -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   14:17                                  collec ion ha been pda ed
  27-Oc -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   10:57                                  doc men ha been pda ed
  27-Oc -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   10:51                                  collec ion ha been pda ed


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  27-Oc -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   10:02                                  doc men ha been pda ed
  27-Oc -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   09:50                                  collec ion ha been pda ed
  26-Oc -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   09:27                                  doc men ha been pda ed
  26-Oc -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   09:00                                  collec ion ha been pda ed
  23-Oc -
   2011       dm doc           6.0        Doc men e    ac ed on cd +
   20:39
  23-Oc -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   08:47                                  doc men ha been pda ed
  23-Oc -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   08:38                                  collec ion ha been pda ed
  21-Oc -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   09:56                                  doc men ha been pda ed
  21-Oc -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   09:30                                  collec ion ha been pda ed
  20-Oc -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   09:39                                  doc men ha been pda ed
  20-Oc -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   09:25                                  collec ion ha been pda ed
  19-Oc -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   10:00                                  doc men ha been pda ed
  19-Oc -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   09:45                                  collec ion ha been pda ed
  17-Oc -
   2011       dm doc           6.0        Doc men e    ac ed on cd +
   10:03
  16-Oc -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   08:53                                  doc men ha been pda ed
  16-Oc -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   08:43                                  collec ion ha been pda ed
  15-Oc -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   09:11                                  doc men ha been pda ed
  15-Oc -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   08:58                                  collec ion ha been pda ed
  13-Oc -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   19:40                                  doc men ha been pda ed
  13-Oc -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   19:10                                  collec ion ha been pda ed
  12-Oc -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   01:22                                  doc men ha been pda ed
  12-Oc -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   00:10                                  collec ion ha been pda ed
  08-Oc -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   22:07                                  doc men ha been pda ed
  08-Oc -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   21:31                                  collec ion ha been pda ed
  07-Oc -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   23:03                                  doc men ha been pda ed
  07-Oc -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   22:17                                  collec ion ha been pda ed
  06-Oc -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   21:50                                  doc men ha been pda ed
  06-Oc -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   21:13                                  collec ion ha been pda ed
  06-Oc -
   2011       dm doc           6.0        Doc men e    ac ed on cd +
   15:36
  06-Oc -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   01:32                                  doc men ha been pda ed
  06-Oc -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   01:19                                  collec ion ha been pda ed
  05-Oc -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   22:01                                  doc men ha been pda ed
  05-Oc -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   21:24                                  collec ion ha been pda ed
  04-Oc -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   22:10                                  collec ion ha been pda ed


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  01-Oc -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   23:29                                  doc men ha been pda ed
  01-Oc -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   22:40                                  collec ion ha been pda ed
  01-Oc -
   2011       dm doc           6.0        Doc men e    ac ed on cd +
   04:40
  30-Sep-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   22:14                                  doc men ha been pda ed
  30-Sep-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   21:40                                  collec ion ha been pda ed
  30-Sep-
   2011       dm doc           6.0        Doc men e    ac ed on cd +
   03:45
  29-Sep-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   22:01                                  doc men ha been pda ed
  29-Sep-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   21:23                                  collec ion ha been pda ed
  29-Sep-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   01:41                                  doc men ha been pda ed
  29-Sep-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   01:25                                  collec ion ha been pda ed
  28-Sep-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   23:02                                  doc men ha been pda ed
  28-Sep-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   22:11                                  collec ion ha been pda ed
  27-Sep-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   22:52                                  doc men ha been pda ed
  27-Sep-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   22:02                                  collec ion ha been pda ed
  24-Sep-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   21:47                                  collec ion ha been pda ed
  23-Sep-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   23:04                                  doc men ha been pda ed
  23-Sep-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   22:26                                  collec ion ha been pda ed
  22-Sep-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   22:25                                  doc men ha been pda ed
  22-Sep-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   21:37                                  collec ion ha been pda ed
  22-Sep-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   02:15                                  doc men ha been pda ed
  22-Sep-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   01:56                                  collec ion ha been pda ed
  21-Sep-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   22:07                                  doc men ha been pda ed
  21-Sep-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   21:23                                  collec ion ha been pda ed
  20-Sep-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   21:27                                  doc men ha been pda ed
  20-Sep-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   20:43                                  collec ion ha been pda ed
  18-Sep-
   2011       dm doc           6.0        Doc men e    ac ed on cd +
   04:23
  17-Sep-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   21:01                                  doc men ha been pda ed
  17-Sep-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   20:22                                  collec ion ha been pda ed
  17-Sep-
   2011       dm doc           6.0        Doc men e    ac ed on cd +
   02:26
  16-Sep-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   20:59                                  doc men ha been pda ed
  16-Sep-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   20:33                                  collec ion ha been pda ed
  16-Sep-
   2011       dm doc           6.0        Doc men e    ac ed on cd +
   02:13
  16-Sep-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   01:27                                  doc men ha been pda ed
  16-Sep-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   01:21                                  collec ion ha been pda ed


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  15-Sep-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   22:11                                  doc men ha been pda ed
  15-Sep-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   21:18                                  collec ion ha been pda ed
  14-Sep-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   22:08                                  collec ion ha been pda ed
  14-Sep-
   2011       dm doc           6.0        Doc men e    ac ed on cd +
   12:23
  14-Sep-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   00:01                                  doc men ha been pda ed
  13-Sep-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   23:11                                  collec ion ha been pda ed
  10-Sep-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   22:02                                  doc men ha been pda ed
  10-Sep-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   21:30                                  collec ion ha been pda ed
  10-Sep-
   2011       dm doc           6.0        Doc men e    ac ed on cd +
   09:48
  09-Sep-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   21:59                                  doc men ha been pda ed
  09-Sep-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   21:22                                  collec ion ha been pda ed
  08-Sep-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   23:33                                  doc men ha been pda ed
  08-Sep-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   22:52                                  collec ion ha been pda ed
  08-Sep-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   02:26                                  doc men ha been pda ed
  08-Sep-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   02:17                                  collec ion ha been pda ed
  07-Sep-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   23:46                                  doc men ha been pda ed
  07-Sep-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   22:54                                  collec ion ha been pda ed
  04-Sep-
   2011       dm doc           6.0        Doc men e    ac ed on cd +
   04:57
  03-Sep-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   22:42                                  doc men ha been pda ed
  03-Sep-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   22:09                                  collec ion ha been pda ed
  03-Sep-
   2011       dm doc           6.0        Doc men e    ac ed on cd +
   08:48
  03-Sep-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   00:38                                  doc men ha been pda ed
  03-Sep-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   00:06                                  collec ion ha been pda ed
  02-Sep-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   03:04                                  doc men ha been pda ed
  02-Sep-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   02:50                                  collec ion ha been pda ed
  01-Sep-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   23:16                                  doc men ha been pda ed
  01-Sep-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   22:15                                  collec ion ha been pda ed
  31-A g-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   22:59                                  doc men ha been pda ed
  31-A g-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   22:29                                  collec ion ha been pda ed
  30-A g-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   22:53                                  doc men ha been pda ed
  30-A g-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   22:04                                  collec ion ha been pda ed
  28-A g-
   2011       dm doc           6.0        Doc men e    ac ed on cd +
   09:21
  27-A g-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   21:07                                  doc men ha been pda ed
  27-A g-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   20:41                                  collec ion ha been pda ed


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  27-A g-
   2011       dm doc           6.0        Doc men e    ac ed on cd +
   04:18
  26-A g-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   22:53                                  doc men ha been pda ed
  26-A g-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   21:59                                  collec ion ha been pda ed
  25-A g-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   22:25                                  doc men ha been pda ed
  25-A g-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   21:44                                  collec ion ha been pda ed
  25-A g-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   01:38                                  doc men ha been pda ed
  25-A g-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   01:26                                  collec ion ha been pda ed
  24-A g-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   22:28                                  doc men ha been pda ed
  24-A g-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   21:56                                  collec ion ha been pda ed
  23-A g-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   22:22                                  doc men ha been pda ed
  23-A g-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   21:35                                  collec ion ha been pda ed
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   2011       dm doc           6.0        Doc men e    ac ed on cd +
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  22-A g-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   20:16                                  doc men ha been pda ed
  22-A g-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   20:05                                  collec ion ha been pda ed
  21-A g-
   2011       dm doc           6.0        Doc men e    ac ed on cd +
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  20-A g-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   20:19                                  doc men ha been pda ed
  20-A g-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   19:42                                  collec ion ha been pda ed
  19-A g-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   20:25                                  doc men ha been pda ed
  19-A g-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   19:52                                  collec ion ha been pda ed
  18-A g-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   20:06                                  collec ion ha been pda ed
  18-A g-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   01:27                                  doc men ha been pda ed
  18-A g-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   01:16                                  collec ion ha been pda ed
  17-A g-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   21:18                                  doc men ha been pda ed
  17-A g-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   20:51                                  collec ion ha been pda ed
  14-A g-
   2011       dm doc           6.0        Doc men e    ac ed on cd +
   12:14
  13-A g-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   20:04                                  doc men ha been pda ed
  13-A g-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   19:39                                  collec ion ha been pda ed
  12-A g-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   21:35                                  doc men ha been pda ed
  12-A g-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   21:02                                  collec ion ha been pda ed
  12-A g-
   2011       dm doc           6.0        Doc men e    ac ed on cd +
   03:48
  11-A g-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   21:29                                  doc men ha been pda ed
  11-A g-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   20:45                                  collec ion ha been pda ed
  11-A g-
                                          Doc men e    ac ed b
   2011       dm doc           6.0        cd _pl
   02:38
  11-A g-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   01:27                                  doc men ha been pda ed


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  11-A g-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   01:21                                  collec ion ha been pda ed
  10-A g-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   21:58                                  doc men ha been pda ed
  10-A g-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   21:08                                  collec ion ha been pda ed
  09-A g-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   22:08                                  doc men ha been pda ed
  09-A g-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   20:58                                  collec ion ha been pda ed
  06-A g-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   21:30                                  doc men ha been pda ed
  06-A g-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   20:30                                  collec ion ha been pda ed
  06-A g-
                                          Doc men e    ac ed b
   2011       dm doc           6.0        cd _pl
   19:07
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                                          Doc men e    ac ed b
   2011       dm doc           6.0        cd _pl
   19:07
  05-A g-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   21:01                                  doc men ha been pda ed
  05-A g-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   20:12                                  collec ion ha been pda ed
  05-A g-
                                          Doc men e    ac ed b
   2011       dm doc           6.0        cd _pl
   19:33
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   2011       dm doc           6.0        cd _pl
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  04-A g-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   22:04                                  doc men ha been pda ed
  04-A g-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   21:20                                  collec ion ha been pda ed
  04-A g-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   01:30                                  doc men ha been pda ed
  04-A g-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   01:21                                  collec ion ha been pda ed
  03-A g-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   21:31                                  doc men ha been pda ed
  03-A g-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   20:49                                  collec ion ha been pda ed
  03-A g-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   01:31                                  doc men ha been pda ed
  03-A g-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   01:22                                  collec ion ha been pda ed
  02-A g-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   21:58                                  doc men ha been pda ed
  02-A g-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   21:10                                  collec ion ha been pda ed
  30-J l-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
  20:11                                   doc men ha been pda ed
  30-J l-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
  19:37                                   collec ion ha been pda ed
  29-J l-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
  20:41                                   doc men ha been pda ed
  29-J l-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
  20:07                                   collec ion ha been pda ed
  29-J l-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
  01:33                                   doc men ha been pda ed
  29-J l-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
  01:18                                   collec ion ha been pda ed
  28-J l-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
  21:55                                   doc men ha been pda ed
  28-J l-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
  21:04                                   collec ion ha been pda ed
  27-J l-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
  20:30                                   collec ion ha been pda ed
  27-J l-
                                          Doc men e    ac ed b
   2011       dm doc           6.0        cd _pl
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  26-J l-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
  21:59                                   doc men ha been pda ed


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  26-J l-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
  21:10                                   collec ion ha been pda ed
  24-J l-
                                          Doc men e    ac ed b
   2011       dm doc           6.0        cd _pl
  01:19
  23-J l-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
  19:54                                   doc men ha been pda ed
  23-J l-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
  19:20                                   collec ion ha been pda ed
  22-J l-
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   2011       dm doc           6.0        cd _pl
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  22-J l-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
  20:27                                   doc men ha been pda ed
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   2011       dm doc                      p od c     ha appl o hi
  19:42                                   collec ion ha been pda ed
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   2011       dm doc           6.0        cd _pl
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   2011       dm doc           6.0        p od c   ha appl o hi
  01:32                                   doc men ha been pda ed
  21-J l-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
  01:18                                   collec ion ha been pda ed
  20-J l-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
  20:43                                   doc men ha been pda ed
  20-J l-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
  19:45                                   collec ion ha been pda ed
  19-J l-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
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   2011       dm doc                      p od c     ha appl o hi
  20:27                                   collec ion ha been pda ed
  18-J l-
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   2011       dm doc           6.0        cd _pl
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  16-J l-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
  21:06                                   doc men ha been pda ed
  16-J l-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
  20:06                                   collec ion ha been pda ed
  16-J l-
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   2011       dm doc           6.0        cd _pl
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  16-J l-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
  01:26                                   doc men ha been pda ed
  16-J l-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
  01:20                                   collec ion ha been pda ed
  15-J l-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
  20:52                                   collec ion ha been pda ed
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   2011       dm doc           6.0        cd _pl
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   2011       dm doc           6.0        p od c   ha appl o hi
  01:25                                   doc men ha been pda ed
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   2011       dm doc                      p od c     ha appl o hi
  01:18                                   collec ion ha been pda ed
  14-J l-                                 Refe ence info ma ion fo
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   2011       dm doc                      p od c     ha appl o hi
  20:55                                   collec ion ha been pda ed
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   2011       dm doc           6.0        cd _pl
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  13-J l-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
  21:07                                   doc men ha been pda ed
  13-J l-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
  19:56                                   collec ion ha been pda ed
  10-J l-
                                          Doc men e    ac ed b
   2011       dm doc           6.0        cd _pl
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  09-J l-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
  19:59                                   doc men ha been pda ed
  09-J l-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
  19:26                                   collec ion ha been pda ed
  09-J l-
                                          Doc men e    ac ed b
   2011       dm doc           6.0        cd _pl
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  08-J l-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
  21:05                                   doc men ha been pda ed


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  08-J l-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
  20:06                                   collec ion ha been pda ed
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   2011       dm doc           6.0        cd _pl
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   2011       dm doc           6.0        p od c   ha appl o hi
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  01:18                                   collec ion ha been pda ed
  07-J l-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
  21:45                                   doc men ha been pda ed
  07-J l-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
  21:02                                   collec ion ha been pda ed
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   2011       dm doc           6.0        cd _pl
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   2011       dm doc                      p od c     ha appl o hi
  19:40                                   collec ion ha been pda ed
  01-J l-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
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   2011       dm doc                      p od c     ha appl o hi
  21:02                                   collec ion ha been pda ed
  01-J l-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
  01:40                                   doc men ha been pda ed
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   2011       dm doc                      p od c     ha appl o hi
  01:20                                   collec ion ha been pda ed
  30-J n-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   21:14                                  doc men ha been pda ed
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   2011       dm doc                      p od c     ha appl o hi
   20:19                                  collec ion ha been pda ed
  30-J n-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   01:31                                  doc men ha been pda ed
  30-J n-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   01:26                                  collec ion ha been pda ed
  29-J n-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   22:07                                  doc men ha been pda ed
  29-J n-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   20:58                                  collec ion ha been pda ed
  26-J n-
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   2011       dm doc           6.0        cd _pl
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  25-J n-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   20:39                                  doc men ha been pda ed
  25-J n-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   19:34                                  collec ion ha been pda ed
  24-J n-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   20:29                                  doc men ha been pda ed
  24-J n-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   19:33                                  collec ion ha been pda ed
  23-J n-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
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   2011       dm doc                      p od c     ha appl o hi
   07:18                                  collec ion ha been pda ed
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   2011       dm doc           6.0        cd _pl
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   2011       dm doc           6.0        p od c   ha appl o hi
   20:16                                  doc men ha been pda ed
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   2011       dm doc           6.0        cd _pl
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  18-J n-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   19:29                                  collec ion ha been pda ed
  17-J n-                                 Refe ence info ma ion fo
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   20:24                                  doc men ha been pda ed
  17-J n-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   19:34                                  collec ion ha been pda ed
  16-J n-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   01:38                                  doc men ha been pda ed
  16-J n-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
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  14-J n-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   21:31                                  doc men ha been pda ed
  14-J n-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
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   2011       dm doc           6.0        cd _pl
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  11-J n-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
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  11-J n-                                 Refe ence info ma ion fo
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   19:08                                  collec ion ha been pda ed
  10-J n-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
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  10-J n-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   20:04                                  collec ion ha been pda ed
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   2011       dm doc           6.0        cd _pl
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  10-J n-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
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  10-J n-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   01:38                                  collec ion ha been pda ed
  09-J n-                                 Refe ence info ma ion fo
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   21:11                                  doc men ha been pda ed
  09-J n-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   20:15                                  collec ion ha been pda ed
  08-J n-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   20:50                                  doc men ha been pda ed
  08-J n-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   19:50                                  collec ion ha been pda ed
  07-J n-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   19:58                                  doc men ha been pda ed
  07-J n-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   19:21                                  collec ion ha been pda ed
  04-J n-
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   2011       dm doc           6.0        cd _pl
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  03-J n-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   19:51                                  collec ion ha been pda ed
  03-J n-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   02:19                                  doc men ha been pda ed
  03-J n-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   02:14                                  collec ion ha been pda ed
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   2011       dm doc           6.0        cd _pl
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  01-J n-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   21:24                                  doc men ha been pda ed
  01-J n-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   20:06                                  collec ion ha been pda ed
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   2011       dm doc           6.0        cd _pl
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   2011       dm doc           6.0        p od c   ha appl o hi
   19:39                                  doc men ha been pda ed
  28-Ma -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   19:20                                  collec ion ha been pda ed
  27-Ma -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   20:08                                  doc men ha been pda ed
  27-Ma -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   19:49                                  collec ion ha been pda ed
  27-Ma -
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   2011       dm doc           6.0        cd _pl
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  27-Ma -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   02:31                                  doc men ha been pda ed
  27-Ma -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   02:24                                  collec ion ha been pda ed
  26-Ma -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   21:21                                  doc men ha been pda ed
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   2011       dm doc                      p od c     ha appl o hi
   21:03                                  collec ion ha been pda ed
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  24-Ma -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   21:27                                  doc men ha been pda ed
  24-Ma -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   21:08                                  collec ion ha been pda ed
  21-Ma -
                                          Doc men e    ac ed b
   2011       dm doc           6.0        cd _pl
   17:17
  21-Ma -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   09:56                                  doc men ha been pda ed
  21-Ma -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   09:41                                  collec ion ha been pda ed
  19-Ma -
                                          Doc men e    ac ed b
   2011       dm doc           6.0        cd _pl
   10:08
  18-Ma -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   21:42                                  doc men ha been pda ed
  18-Ma -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   21:03                                  collec ion ha been pda ed
  17-Ma -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   22:08                                  doc men ha been pda ed
  17-Ma -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   21:31                                  collec ion ha been pda ed
  17-Ma -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   01:54                                  doc men ha been pda ed
  17-Ma -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   01:44                                  collec ion ha been pda ed
  14-Ma -
                                          Doc men e    ac ed b
   2011       dm doc           6.0        cd _pl
   23:31
  14-Ma -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   20:34                                  doc men ha been pda ed
  14-Ma -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   20:02                                  collec ion ha been pda ed
  12-Ma -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   20:45                                  doc men ha been pda ed
  12-Ma -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   20:17                                  collec ion ha been pda ed
  10-Ma -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   20:05                                  doc men ha been pda ed
  10-Ma -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   19:23                                  collec ion ha been pda ed
  10-Ma -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   01:52                                  doc men ha been pda ed
  10-Ma -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   01:45                                  collec ion ha been pda ed
  07-Ma -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   20:31                                  doc men ha been pda ed
  07-Ma -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   20:03                                  collec ion ha been pda ed
  07-Ma -
                                          Doc men e    ac ed b
   2011       dm doc           6.0        cd _pl
   17:40
  07-Ma -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   02:24                                  doc men ha been pda ed
  07-Ma -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   02:19                                  collec ion ha been pda ed
  06-Ma -
                                          Doc men e    ac ed b
   2011       dm doc           6.0        cd _pl
   22:38
  06-Ma -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   19:53                                  doc men ha been pda ed
  06-Ma -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   19:32                                  collec ion ha been pda ed
  06-Ma -
                                          Doc men e    ac ed b
   2011       dm doc           6.0        cd _pl
   04:13
  05-Ma -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   19:47                                  doc men ha been pda ed
  05-Ma -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   19:15                                  collec ion ha been pda ed
  04-Ma -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   20:56                                  doc men ha been pda ed
  04-Ma -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   20:13                                  collec ion ha been pda ed


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  03-Ma -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   21:29                                  doc men ha been pda ed
  03-Ma -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   20:45                                  collec ion ha been pda ed
  01-Ma -
                                          Doc men e    ac ed b
   2011       dm doc           6.0        cd _pl
   10:28
  30-Ap -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   20:05                                  doc men ha been pda ed
  30-Ap -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   19:30                                  collec ion ha been pda ed
  29-Ap -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   19:49                                  collec ion ha been pda ed
  29-Ap -
                                          Doc men e    ac ed b
   2011       dm doc           6.0        cd _pl
   01:58
  28-Ap -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   21:14                                  doc men ha been pda ed
  28-Ap -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   20:44                                  collec ion ha been pda ed
  27-Ap -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   20:23                                  doc men ha been pda ed
  27-Ap -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   19:27                                  collec ion ha been pda ed
  27-Ap -
                                          Doc men e    ac ed b
   2011       dm doc           6.0        cd _pl
   11:59
  26-Ap -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   21:00                                  doc men ha been pda ed
  26-Ap -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   19:56                                  collec ion ha been pda ed
  24-Ap -
                                          Doc men e    ac ed b
   2011       dm doc           6.0        cd _pl
   02:40
  23-Ap -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   19:11                                  doc men ha been pda ed
  23-Ap -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   18:36                                  collec ion ha been pda ed
  21-Ap -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   20:26                                  doc men ha been pda ed
  21-Ap -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   19:31                                  collec ion ha been pda ed
  21-Ap -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   01:39                                  doc men ha been pda ed
  21-Ap -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   01:27                                  collec ion ha been pda ed
  20-Ap -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   19:48                                  doc men ha been pda ed
  20-Ap -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   19:00                                  collec ion ha been pda ed
  19-Ap -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   20:56                                  doc men ha been pda ed
  19-Ap -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   20:05                                  collec ion ha been pda ed
  16-Ap -
                                          Doc men e    ac ed b
   2011       dm doc           6.0        cd _pl
   21:26
  16-Ap -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   19:01                                  doc men ha been pda ed
  16-Ap -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   18:30                                  collec ion ha been pda ed
  16-Ap -
                                          Doc men e    ac ed b
   2011       dm doc           6.0        cd _pl
   00:11
  15-Ap -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   19:55                                  doc men ha been pda ed
  15-Ap -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   19:22                                  collec ion ha been pda ed
  14-Ap -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   19:58                                  doc men ha been pda ed
  14-Ap -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   19:15                                  collec ion ha been pda ed
  13-Ap -
                                          Doc men e    ac ed b
   2011       dm doc           6.0        cd _pl
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  13-Ap -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   01:25                                  doc men ha been pda ed
  13-Ap -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   01:13                                  collec ion ha been pda ed
  12-Ap -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   20:42                                  doc men ha been pda ed
  12-Ap -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   19:55                                  collec ion ha been pda ed
  12-Ap -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   02:14                                  doc men ha been pda ed
  12-Ap -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   01:07                                  collec ion ha been pda ed
  07-Ap -
   2011       cd pl            6.0        Man al Rep bli h                Man al Rep bli h
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  02-Ap -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   19:39                                  doc men ha been pda ed
  02-Ap -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   19:04                                  collec ion ha been pda ed
  01-Ap -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   19:43                                  doc men ha been pda ed
  01-Ap -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   18:55                                  collec ion ha been pda ed
  31-Ma -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   19:56                                  doc men ha been pda ed
  31-Ma -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   19:14                                  collec ion ha been pda ed
  31-Ma -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   01:26                                  doc men ha been pda ed
  31-Ma -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   01:18                                  collec ion ha been pda ed
  30-Ma -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   20:07                                  doc men ha been pda ed
  30-Ma -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   19:14                                  collec ion ha been pda ed
  30-Ma -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   01:19                                  doc men ha been pda ed
  30-Ma -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   01:13                                  collec ion ha been pda ed
  29-Ma -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   20:10                                  doc men ha been pda ed
  29-Ma -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   19:28                                  collec ion ha been pda ed
  26-Ma -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   18:45                                  doc men ha been pda ed
  26-Ma -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   17:57                                  collec ion ha been pda ed
  25-Ma -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   19:37                                  doc men ha been pda ed
  25-Ma -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   19:07                                  collec ion ha been pda ed
  25-Ma -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   01:20                                  doc men ha been pda ed
  25-Ma -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   01:12                                  collec ion ha been pda ed
  24-Ma -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   20:38                                  doc men ha been pda ed
  24-Ma -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   19:54                                  collec ion ha been pda ed
  23-Ma -                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   21:44                                  doc men ha been pda ed
  23-Ma -                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   19:41                                  collec ion ha been pda ed
  25-Feb-
                                          Doc men e    ac ed b
   2011       dm doc           6.0        cd _pl
   10:18
  19-Feb-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   18:59                                  doc men ha been pda ed
  19-Feb-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   18:03                                  collec ion ha been pda ed


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                                                     207-1 -Filed
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  18-Feb-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   18:22                                  doc men ha been pda ed
  18-Feb-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   17:42                                  collec ion ha been pda ed
  17-Feb-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   18:58                                  collec ion ha been pda ed
  16-Feb-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   14:38                                  doc men ha been pda ed
  16-Feb-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   14:25                                  collec ion ha been pda ed
  16-Feb-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   13:26                                  doc men ha been pda ed
  16-Feb-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   12:37                                  collec ion ha been pda ed
  10-Feb-
                                          Doc men e    ac ed b
   2011       dm doc           6.0        cd _pl
   09:13
  10-Feb-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   01:07                                  doc men ha been pda ed
  10-Feb-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   00:57                                  collec ion ha been pda ed
  08-Feb-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   17:20                                  doc men ha been pda ed
  08-Feb-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   16:45                                  collec ion ha been pda ed
  05-Feb-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   17:50                                  doc men ha been pda ed
  05-Feb-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   17:06                                  collec ion ha been pda ed
  04-Feb-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   17:37                                  doc men ha been pda ed
  04-Feb-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   17:05                                  collec ion ha been pda ed
  04-Feb-
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   2011       dm doc           6.0        cd _pl
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  04-Feb-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   00:33                                  doc men ha been pda ed
  04-Feb-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   00:21                                  collec ion ha been pda ed
  03-Feb-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   18:40                                  doc men ha been pda ed
  03-Feb-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   18:01                                  collec ion ha been pda ed
  02-Feb-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   18:31                                  doc men ha been pda ed
  02-Feb-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   17:59                                  collec ion ha been pda ed
  02-Feb-
                                          Doc men e    ac ed b
   2011       dm doc           6.0        cd _pl
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  01-Feb-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   17:48                                  doc men ha been pda ed
  01-Feb-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   17:12                                  collec ion ha been pda ed
  29-Jan-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   17:29                                  doc men ha been pda ed
  29-Jan-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   16:50                                  collec ion ha been pda ed
  28-Jan-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   17:59                                  doc men ha been pda ed
  28-Jan-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   17:23                                  collec ion ha been pda ed
  27-Jan-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   00:39                                  doc men ha been pda ed
  27-Jan-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   00:27                                  collec ion ha been pda ed
  25-Jan-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   18:43                                  doc men ha been pda ed
  25-Jan-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   18:00                                  collec ion ha been pda ed


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  23-Jan-
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   2011       dm doc           6.0        cd _pl
   10:58
  22-Jan-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   18:18                                  doc men ha been pda ed
  22-Jan-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   17:45                                  collec ion ha been pda ed
  21-Jan-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   18:51                                  doc men ha been pda ed
  21-Jan-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   18:09                                  collec ion ha been pda ed
  20-Jan-
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   2011       dm doc           6.0        cd _pl
   18:43
  19-Jan-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   21:02                                  doc men ha been pda ed
  19-Jan-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   20:02                                  collec ion ha been pda ed
  17-Jan-
                                          Doc men e    ac ed b
   2011       dm doc           6.0        cd _pl
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  15-Jan-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   17:40                                  doc men ha been pda ed
  15-Jan-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   17:08                                  collec ion ha been pda ed
  15-Jan-
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   2011       dm doc           6.0        cd _pl
   05:41
  14-Jan-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   18:11                                  doc men ha been pda ed
  14-Jan-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   17:37                                  collec ion ha been pda ed
  13-Jan-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   18:18                                  doc men ha been pda ed
  13-Jan-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   17:44                                  collec ion ha been pda ed
  12-Jan-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   16:56                                  doc men ha been pda ed
  12-Jan-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   16:49                                  collec ion ha been pda ed
  10-Jan-                                 Refe ence info ma ion fo
   2011       dm doc           6.0        p od c   ha appl o hi
   13:32                                  doc men ha been pda ed
  10-Jan-                                 Refe ence info ma ion fo
   2011       dm doc                      p od c     ha appl o hi
   12:34                                  collec ion ha been pda ed
  30-Dec-
                                          Doc men e    ac ed b
   2010       dm doc           6.0        cd _pl
   22:51
  30-Dec-                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:07                                  doc men ha been pda ed
  30-Dec-                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   17:02                                  collec ion ha been pda ed
  30-Dec-                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   16:39                                  doc men ha been pda ed
  30-Dec-                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   16:22                                  collec ion ha been pda ed
  30-Dec-
                                          Doc men e    ac ed b
   2010       dm doc           6.0        cd _pl
   05:54
  29-Dec-                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:26                                  doc men ha been pda ed
  29-Dec-                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   17:20                                  collec ion ha been pda ed
  29-Dec-                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   16:45                                  doc men ha been pda ed
  29-Dec-                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   16:19                                  collec ion ha been pda ed
  23-Dec-                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   18:01                                  doc men ha been pda ed
  23-Dec-                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   17:33                                  collec ion ha been pda ed
  23-Dec-                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   00:32                                  doc men ha been pda ed
  23-Dec-                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   00:15                                  collec ion ha been pda ed


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  22-Dec-
                                          Doc men e    ac ed b
   2010       dm doc           6.0        cd _pl
   22:35
  22-Dec-                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   18:15                                  doc men ha been pda ed
  22-Dec-                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   17:29                                  collec ion ha been pda ed
  21-Dec-                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:16                                  doc men ha been pda ed
  21-Dec-                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   16:34                                  collec ion ha been pda ed
  18-Dec-                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:25                                  doc men ha been pda ed
  18-Dec-                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   16:43                                  collec ion ha been pda ed
  17-Dec-                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:52                                  doc men ha been pda ed
  17-Dec-                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   17:06                                  collec ion ha been pda ed
  17-Dec-
                                          Doc men e    ac ed b
   2010       dm doc           6.0        cd _pl
   01:44
  16-Dec-                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   17:19                                  collec ion ha been pda ed
  15-Dec-                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   18:17                                  doc men ha been pda ed
  15-Dec-                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   18:12                                  collec ion ha been pda ed
  14-Dec-
                                          Doc men e    ac ed b
   2010       dm doc           6.0        cd _pl
   21:29
  14-Dec-                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:56                                  doc men ha been pda ed
  14-Dec-                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   17:11                                  collec ion ha been pda ed
  12-Dec-
                                          Doc men e    ac ed b
   2010       dm doc           6.0        cd _pl
   08:13
  11-Dec-                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   16:50                                  doc men ha been pda ed
  11-Dec-                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   16:16                                  collec ion ha been pda ed
  10-Dec-                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   00:25                                  doc men ha been pda ed
  10-Dec-                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   00:14                                  collec ion ha been pda ed
  09-Dec-                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:36                                  doc men ha been pda ed
  09-Dec-                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   16:54                                  collec ion ha been pda ed
  08-Dec-                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   23:07                                  doc men ha been pda ed
  08-Dec-                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   22:57                                  collec ion ha been pda ed
  08-Dec-                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:15                                  doc men ha been pda ed
  08-Dec-                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   16:38                                  collec ion ha been pda ed
  07-Dec-                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:44                                  doc men ha been pda ed
  07-Dec-                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   16:50                                  collec ion ha been pda ed
  04-Dec-                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:15                                  doc men ha been pda ed
  04-Dec-                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   16:28                                  collec ion ha been pda ed
  03-Dec-                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:37                                  doc men ha been pda ed
  03-Dec-                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   16:54                                  collec ion ha been pda ed
  02-Dec-                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:19                                  doc men ha been pda ed


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  02-Dec-                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   16:45                                  collec ion ha been pda ed
  02-Dec-                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   00:26                                  doc men ha been pda ed
  02-Dec-                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   00:10                                  collec ion ha been pda ed
  01-Dec-                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:46                                  doc men ha been pda ed
  01-Dec-                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   17:06                                  collec ion ha been pda ed
  30-No -                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:37                                  doc men ha been pda ed
  30-No -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   16:51                                  collec ion ha been pda ed
  25-No -                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:34                                  doc men ha been pda ed
  25-No -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   16:53                                  collec ion ha been pda ed
  25-No -                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   00:22                                  doc men ha been pda ed
  25-No -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   00:10                                  collec ion ha been pda ed
  24-No -                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:51                                  doc men ha been pda ed
  24-No -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   16:53                                  collec ion ha been pda ed
  23-No -                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:37                                  doc men ha been pda ed
  23-No -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   16:49                                  collec ion ha been pda ed
  19-No -                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:03                                  doc men ha been pda ed
  19-No -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   16:21                                  collec ion ha been pda ed
  18-No -                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   18:23                                  doc men ha been pda ed
  18-No -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   18:09                                  collec ion ha been pda ed
  18-No -                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:02                                  doc men ha been pda ed
  18-No -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   16:18                                  collec ion ha been pda ed
  16-No -                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:27                                  doc men ha been pda ed
  16-No -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   16:37                                  collec ion ha been pda ed
  13-No -                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:02                                  doc men ha been pda ed
  13-No -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   16:13                                  collec ion ha been pda ed
  12-No -                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:40                                  doc men ha been pda ed
  12-No -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   16:35                                  collec ion ha been pda ed
  11-No -                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:16                                  doc men ha been pda ed
  11-No -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   16:34                                  collec ion ha been pda ed
  10-No -                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   18:17                                  doc men ha been pda ed
  10-No -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   18:11                                  collec ion ha been pda ed
  09-No -                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:42                                  doc men ha been pda ed
  09-No -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   17:07                                  collec ion ha been pda ed
  07-No -
                                          Doc men e    ac ed b
   2010       dm doc           6.0        cd _pl
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  06-No -                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   18:23                                  doc men ha been pda ed
  06-No -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   17:38                                  collec ion ha been pda ed
  05-No -                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:59                                  doc men ha been pda ed
  05-No -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   17:24                                  collec ion ha been pda ed
  04-No -                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   18:15                                  doc men ha been pda ed
  04-No -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   17:33                                  collec ion ha been pda ed
  04-No -                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   01:23                                  doc men ha been pda ed
  04-No -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   01:11                                  collec ion ha been pda ed
  03-No -                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   18:23                                  doc men ha been pda ed
  03-No -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   17:32                                  collec ion ha been pda ed
  30-Oc -
                                          Doc men e    ac ed b
   2010       dm doc           6.0        cd _pl
   22:39
  30-Oc -                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:31                                  doc men ha been pda ed
  30-Oc -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   16:57                                  collec ion ha been pda ed
  29-Oc -
                                          Doc men e    ac ed b
   2010       dm doc           6.0        cd _pl
   18:58
  29-Oc -                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:40                                  doc men ha been pda ed
  29-Oc -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   17:03                                  collec ion ha been pda ed
  28-Oc -                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   18:04                                  doc men ha been pda ed
  28-Oc -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   17:34                                  collec ion ha been pda ed
  28-Oc -
   2010      cd _pl            6.0        Man al Rep bli h                Man al Rep bli h
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  28-Oc -
                                          Doc men e    ac ed b
   2010       dm doc           6.0        cd _pl
   09:21
  28-Oc -                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   01:16                                  doc men ha been pda ed
  28-Oc -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   01:10                                  collec ion ha been pda ed
  26-Oc -                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   18:24                                  doc men ha been pda ed
  26-Oc -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   17:43                                  collec ion ha been pda ed
  23-Oc -                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:37                                  doc men ha been pda ed
  23-Oc -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   17:01                                  collec ion ha been pda ed
  22-Oc -
                                          Doc men e    ac ed b
   2010       dm doc           6.0        cd _pl
   08:28
  21-Oc -                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:45                                  doc men ha been pda ed
  21-Oc -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   17:14                                  collec ion ha been pda ed
  20-Oc -                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   19:29                                  doc men ha been pda ed
  20-Oc -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   19:17                                  collec ion ha been pda ed
  20-Oc -                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:51                                  doc men ha been pda ed
  20-Oc -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   17:25                                  collec ion ha been pda ed
  19-Oc -
                                          Doc men e    ac ed b
   2010       dm doc           6.0        cd _pl
   21:28


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  19-Oc -                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   18:25                                  doc men ha been pda ed
  19-Oc -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   17:46                                  collec ion ha been pda ed
  16-Oc -                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:25                                  doc men ha been pda ed
  16-Oc -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   16:48                                  collec ion ha been pda ed
  16-Oc -
                                          Doc men e    ac ed b
   2010       dm doc           6.0        cd _pl
   03:12
  15-Oc -                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:42                                  doc men ha been pda ed
  15-Oc -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   17:02                                  collec ion ha been pda ed
  15-Oc -
                                          Doc men e    ac ed b
   2010       dm doc           6.0        cd _pl
   07:52
  14-Oc -                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   19:15                                  doc men ha been pda ed
  14-Oc -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   19:10                                  collec ion ha been pda ed
  14-Oc -                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:25                                  doc men ha been pda ed
  14-Oc -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   16:42                                  collec ion ha been pda ed
  13-Oc -                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   19:18                                  doc men ha been pda ed
  13-Oc -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   19:13                                  collec ion ha been pda ed
  12-Oc -
                                          Doc men e    ac ed b
   2010       dm doc           6.0        cd _pl
   01:57
  10-Oc -                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   16:38                                  doc men ha been pda ed
  10-Oc -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   16:33                                  collec ion ha been pda ed
  09-Oc -                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:46                                  doc men ha been pda ed
  09-Oc -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   17:08                                  collec ion ha been pda ed
  08-Oc -                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   21:18                                  doc men ha been pda ed
  08-Oc -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   20:42                                  collec ion ha been pda ed
  07-Oc -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   13:17                                  collec ion ha been pda ed
  06-Oc -
                                          Doc men e    ac ed b
   2010       dm doc           6.0        cd _pl
   23:35
  06-Oc -                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   19:22                                  doc men ha been pda ed
  06-Oc -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   19:15                                  collec ion ha been pda ed
  30-Sep-
   2010      cd _pl            6.0        Man al Rep bli h                Man al Rep bli h
   23:16
  29-Sep-                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   13:28                                  doc men ha been pda ed
  29-Sep-                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   13:18                                  collec ion ha been pda ed
  28-Sep-
                                          Doc men e    ac ed b
   2010       dm doc           6.0        cd _pl
   08:36
  27-Sep-                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:39                                  doc men ha been pda ed
  27-Sep-                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   17:01                                  collec ion ha been pda ed
  27-Sep-
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   2010       dm doc           6.0        cd _pl
   03:54
  26-Sep-                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:08                                  doc men ha been pda ed
  26-Sep-                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
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   2010       dm doc           6.0        cd _pl
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  25-Sep-                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:53                                  doc men ha been pda ed
  25-Sep-                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   17:14                                  collec ion ha been pda ed
  25-Sep-
                                          Doc men e    ac ed b
   2010       dm doc           6.0        cd _pl
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  25-Sep-                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   01:44                                  doc men ha been pda ed
  25-Sep-                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   01:37                                  collec ion ha been pda ed
  24-Sep-                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   18:33                                  doc men ha been pda ed
  24-Sep-                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   17:44                                  collec ion ha been pda ed
  23-Sep-                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   18:27                                  doc men ha been pda ed
  23-Sep-                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   17:42                                  collec ion ha been pda ed
  22-Sep-
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   2010       dm doc           6.0        cd _pl
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  22-Sep-                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   19:14                                  doc men ha been pda ed
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   2010       dm doc                      p od c     ha appl o hi
   19:10                                  collec ion ha been pda ed
  22-Sep-                                 Refe ence info ma ion fo
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  22-Sep-                                 Refe ence info ma ion fo
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   17:23                                  collec ion ha been pda ed
  21-Sep-                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:46                                  doc men ha been pda ed
  21-Sep-                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   17:08                                  collec ion ha been pda ed
  18-Sep-
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   2010       dm doc           6.0        cd _pl
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  18-Sep-                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:26                                  doc men ha been pda ed
  18-Sep-                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   16:44                                  collec ion ha been pda ed
  16-Sep-                                 Refe ence info ma ion fo
   2010       dm doc           6.0        p od c   ha appl o hi
   17:57                                  doc men ha been pda ed
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   2010       dm doc                      p od c     ha appl o hi
   17:52                                  collec ion ha been pda ed
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   17:14                                  collec ion ha been pda ed
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   2010       dm doc           6.0        p od c   ha appl o hi
   18:06                                  doc men ha been pda ed
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   2010       dm doc                      p od c     ha appl o hi
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  09-Sep-                                 Refe ence info ma ion fo
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   17:55                                  doc men ha been pda ed
  09-Sep-                                 Refe ence info ma ion fo
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   17:18                                  collec ion ha been pda ed
  09-Sep-                                 Refe ence info ma ion fo
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  09-Sep-                                    Refe ence info ma ion fo
   2010       dm doc                         p od c     ha appl o hi
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  05-Sep-                                    Refe ence info ma ion fo
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  01-Sep-                                    Refe ence info ma ion fo
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   19:10                                     collec ion ha been pda ed
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   2010       dm doc              6.0        p od c   ha appl o hi
   18:03                                     doc men ha been pda ed
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   17:20                                     collec ion ha been pda ed
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   2010       dm doc              6.0        cd _pl
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   17:26                                     doc men ha been pda ed
  28-A g-                                    Refe ence info ma ion fo
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   16:51                                     collec ion ha been pda ed
  27-A g-                                    Refe ence info ma ion fo
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   18:33                                     collec ion ha been pda ed
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  21-A g-                                    Refe ence info ma ion fo
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   18:34                                     collec ion ha been pda ed
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   01:21                                     collec ion ha been pda ed
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   20:35                                     collec ion ha been pda ed
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  13-A g-                                    Refe ence info ma ion fo
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   2010       dm doc              4.1        cd _pl
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  13-A g-                                    Refe ence info ma ion fo
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   18:40                                  collec ion ha been pda ed
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   2010       dm doc           4.1        cd _pl
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  12-A g-                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   01:15                                  collec ion ha been pda ed
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   2010       dm doc           4.1        p od c   ha appl o hi
   19:11                                  doc men ha been pda ed
  11-A g-                                 Refe ence info ma ion fo
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   18:43                                  collec ion ha been pda ed
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   18:41                                  doc men ha been pda ed
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   17:57                                  collec ion ha been pda ed
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   2010       dm doc           4.1        p od c   ha appl o hi
   18:53                                  doc men ha been pda ed
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   18:19                                  collec ion ha been pda ed
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   18:31                                  collec ion ha been pda ed
  04-A g-                                 Refe ence info ma ion fo
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   19:50                                  collec ion ha been pda ed
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  02-A g-                                 Refe ence info ma ion fo
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   19:19                                  doc men ha been pda ed
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   19:13                                  collec ion ha been pda ed
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   2010       dm doc           4.1        cd _pl
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  31-J l-                                 Refe ence info ma ion fo
   2010       dm doc           4.1        p od c   ha appl o hi
  18:34                                   doc men ha been pda ed
  31-J l-                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
  17:31                                   collec ion ha been pda ed
  30-J l-                                 Refe ence info ma ion fo
   2010       dm doc           4.1        p od c   ha appl o hi
  01:24                                   doc men ha been pda ed
  30-J l-                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
  01:16                                   collec ion ha been pda ed
  29-J l-                                 Refe ence info ma ion fo
   2010       dm doc           4.1        p od c   ha appl o hi
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   2010       dm doc                      p od c     ha appl o hi
  19:04                                   collec ion ha been pda ed
  28-J l-                                 Refe ence info ma ion fo
   2010       dm doc           4.1        p od c   ha appl o hi
  18:38                                   doc men ha been pda ed
  28-J l-                                 Refe ence info ma ion fo
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  18:14                                   collec ion ha been pda ed
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   2010       dm doc           4.1        cd _pl
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  16:43                                   collec ion ha been pda ed
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   2010       dm doc           4.1        cd _pl
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  17:47                                   collec ion ha been pda ed
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  18:36                                   collec ion ha been pda ed
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  18:39                                   collec ion ha been pda ed
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  17:08                                   collec ion ha been pda ed
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  17:45                                   collec ion ha been pda ed
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   2010       dm doc           4.1        cd _pl
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  16-J l-                                 Refe ence info ma ion fo
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   2010       dm doc           3.0        p od c   ha appl o hi
   17:06                                  doc men ha been pda ed
  30-Ap -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   16:39                                  collec ion ha been pda ed
  30-Ap -
                                          Doc men e    ac ed b
   2010       dm doc           3.0        cd _pl
   01:55
  29-Ap -     dm doc           3.0        Doc men e    ac ed b
   2010                                   cd _pl


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   17:58
  29-Ap -                                 Refe ence info ma ion fo
   2010       dm doc           3.0        p od c   ha appl o hi
   17:43                                  doc men ha been pda ed
  29-Ap -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   17:19                                  collec ion ha been pda ed
  28-Ap -                                 Refe ence info ma ion fo
   2010       dm doc           3.0        p od c   ha appl o hi
   17:45                                  doc men ha been pda ed
  28-Ap -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   17:14                                  collec ion ha been pda ed
  27-Ap -
                                          Doc men e     ac ed b
   2010       dm doc           3.0        cd _pl
   23:14
  27-Ap -                                 Refe ence info ma ion fo
   2010       dm doc           3.0        p od c   ha appl o hi
   18:02                                  doc men ha been pda ed
  27-Ap -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   17:39                                  collec ion ha been pda ed
  25-Ap -
                                          Doc men e     ac ed b
   2010       dm doc           3.0        cd _pl
   03:12
  24-Ap -                                 Refe ence info ma ion fo
   2010       dm doc           3.0        p od c   ha appl o hi
   16:23                                  doc men ha been pda ed
  24-Ap -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   15:57                                  collec ion ha been pda ed
  23-Ap -
                                          Doc men e     ac ed b
   2010       dm doc           3.0        cd _pl
   04:02
  22-Ap -                                 Refe ence info ma ion fo
   2010       dm doc           3.0        p od c   ha appl o hi
   17:44                                  doc men ha been pda ed
  22-Ap -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   17:19                                  collec ion ha been pda ed
  21-Ap -
                                          Doc men e     ac ed b
   2010       dm doc           3.0        cd _pl
   23:05
  21-Ap -                                 Refe ence info ma ion fo
   2010       dm doc           3.0        p od c   ha appl o hi
   17:27                                  doc men ha been pda ed
  21-Ap -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   17:00                                  collec ion ha been pda ed
  19-Ap -
                                          Doc men e     ac ed b
   2010       dm doc           3.0        cd _pl
   19:03
  19-Ap -                                 Refe ence info ma ion fo
   2010       dm doc           3.0        p od c   ha appl o hi
   16:30                                  doc men ha been pda ed
  19-Ap -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   16:23                                  collec ion ha been pda ed
  17-Ap -
                                          Doc men e     ac ed b
   2010       dm doc           3.0        cd _pl
   21:52
  17-Ap -                                 Refe ence info ma ion fo
   2010       dm doc           3.0        p od c   ha appl o hi
   17:09                                  doc men ha been pda ed
  17-Ap -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   16:39                                  collec ion ha been pda ed
  17-Ap -
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   2010       dm doc           3.0        cd _pl
   00:25
  16-Ap -                                 Refe ence info ma ion fo
   2010       dm doc           3.0        p od c   ha appl o hi
   17:07                                  doc men ha been pda ed
  16-Ap -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   16:41                                  collec ion ha been pda ed
  15-Ap -
                                          Doc men e     ac ed b
   2010       dm doc           3.0        cd _pl
   08:25
  14-Ap -                                 Refe ence info ma ion fo
   2010       dm doc           3.0        p od c   ha appl o hi
   18:55                                  doc men ha been pda ed
  14-Ap -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   18:23                                  collec ion ha been pda ed
  11-Ap -
                                          Doc men e     ac ed b
   2010       dm doc           3.0        cd _pl
   19:12
  11-Ap -                                 Refe ence info ma ion fo
   2010       dm doc           3.0        p od c   ha appl o hi
   16:33                                  doc men ha been pda ed
  11-Ap -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   16:16                                  collec ion ha been pda ed
  10-Ap -
                                          Doc men e     ac ed b
   2010       dm doc           3.0        cd _pl
   09:25
  10-Ap -                                 Refe ence info ma ion fo
   2010       dm doc           3.0        p od c   ha appl o hi
   04:39                                  doc men ha been pda ed
  10-Ap -     dm doc                      Refe ence info ma ion fo
   2010                                   p od c   ha appl o hi


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   04:21                                  collec ion ha been pda ed
  07-Ap -
                                          Doc men e    ac ed b
   2010       dm doc           3.0        cd _pl
   20:51
  07-Ap -                                 Refe ence info ma ion fo
   2010       dm doc           3.0        p od c   ha appl o hi
   16:59                                  doc men ha been pda ed
  07-Ap -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   16:20                                  collec ion ha been pda ed
  04-Ap -
                                          Doc men e    ac ed b
   2010       dm doc           3.0        cd _pl
   21:53
  04-Ap -                                 Refe ence info ma ion fo
   2010       dm doc           3.0        p od c   ha appl o hi
   16:18                                  doc men ha been pda ed
  04-Ap -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   15:47                                  collec ion ha been pda ed
  03-Ap -
                                          Doc men e    ac ed b
   2010       dm doc           3.0        cd _pl
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  02-Ap -                                 Refe ence info ma ion fo
   2010       dm doc           3.0        p od c   ha appl o hi
   16:52                                  doc men ha been pda ed
  02-Ap -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   16:12                                  collec ion ha been pda ed
  01-Ap -
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   2010       dm doc           3.0        cd _pl
   22:55
  01-Ap -                                 Refe ence info ma ion fo
   2010       dm doc           3.0        p od c   ha appl o hi
   17:18                                  doc men ha been pda ed
  01-Ap -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   16:43                                  collec ion ha been pda ed
  31-Ma -
                                          Doc men e    ac ed b
   2010       dm doc           3.0        cd _pl
   01:37
  30-Ma -                                 Refe ence info ma ion fo
   2010       dm doc           3.0        p od c   ha appl o hi
   18:12                                  doc men ha been pda ed
  30-Ma -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   17:22                                  collec ion ha been pda ed
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   2010       dm doc           3.0        cd _pl
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  27-Ma -                                 Refe ence info ma ion fo
   2010       dm doc           3.0        p od c   ha appl o hi
   16:53                                  doc men ha been pda ed
  27-Ma -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   16:01                                  collec ion ha been pda ed
  25-Ma -
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   2010       dm doc           3.0        cd _pl
   19:15
  25-Ma -                                 Refe ence info ma ion fo
   2010       dm doc           3.0        p od c   ha appl o hi
   16:58                                  doc men ha been pda ed
  25-Ma -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   16:24                                  collec ion ha been pda ed
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   2010       dm doc           3.0        cd _pl
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  17-Ma -                                 Refe ence info ma ion fo
   2010       dm doc           3.0        p od c   ha appl o hi
   17:19                                  doc men ha been pda ed
  17-Ma -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   16:34                                  collec ion ha been pda ed
  16-Ma -
                                          Doc men e    ac ed b
   2010       dm doc           3.0        cd _pl
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  16-Ma -                                 Refe ence info ma ion fo
   2010       dm doc           3.0        p od c   ha appl o hi
   17:12                                  doc men ha been pda ed
  16-Ma -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   16:44                                  collec ion ha been pda ed
  06-Ma -
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   2010       dm doc           3.0        cd _pl
   21:03
  06-Ma -                                 Refe ence info ma ion fo
   2010       dm doc           3.0        p od c   ha appl o hi
   15:50                                  doc men ha been pda ed
  06-Ma -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   15:17                                  collec ion ha been pda ed
  05-Ma -
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   2010       dm doc           3.0        cd _pl
   02:08
  04-Ma -                                 Refe ence info ma ion fo
   2010       dm doc           3.0        p od c   ha appl o hi
   16:27                                  doc men ha been pda ed
  04-Ma -                                 Refe ence info ma ion fo
   2010       dm doc                      p od c     ha appl o hi
   15:45                                  collec ion ha been pda ed
  03-Ma -     dm doc           3.0        Doc men e    ac ed b
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   17:29
  03-Ma -                                       Refe ence info ma ion fo
   2010          dm doc              3.0        p od c   ha appl o hi
   16:43                                        doc men ha been pda ed
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   2010          dm doc                         p od c     ha appl o hi
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   2010          dm doc              3.0        cd _pl
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  27-Feb-                                       Refe ence info ma ion fo
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   15:28                                        doc men ha been pda ed
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   2010          dm doc                         p od c     ha appl o hi
   14:58                                        collec ion ha been pda ed
  27-Feb-
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   2010          dm doc              3.0        cd _pl
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  26-Feb-                                       Refe ence info ma ion fo
   2010          dm doc              3.0        p od c   ha appl o hi
   15:55                                        doc men ha been pda ed
  26-Feb-                                       Refe ence info ma ion fo
   2010          dm doc                         p od c     ha appl o hi
   15:39                                        collec ion ha been pda ed
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   2010          dm doc              3.0        cd _pl
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  25-Feb-                                       Refe ence info ma ion fo
   2010          dm doc              3.0        p od c   ha appl o hi
   16:29                                        doc men ha been pda ed
  25-Feb-                                       Refe ence info ma ion fo
   2010          dm doc                         p od c     ha appl o hi
   16:12                                        collec ion ha been pda ed
  24-Feb-
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   2010          dm doc              3.0        cd _pl
   22:40
  24-Feb-                                       Refe ence info ma ion fo
   2010          dm doc              3.0        p od c   ha appl o hi
   17:19                                        doc men ha been pda ed
  24-Feb-                                       Refe ence info ma ion fo
   2010          dm doc                         p od c     ha appl o hi
   17:11                                        collec ion ha been pda ed
  24-Feb-                                       Refe ence info ma ion fo
   2010          dm doc              3.0        p od c   ha appl o hi
   16:29                                        doc men ha been pda ed
  24-Feb-                                       Refe ence info ma ion fo
   2010          dm doc                         p od c     ha appl o hi
   16:15                                        collec ion ha been pda ed
  22-Feb-
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   2010          dm doc              3.0        cd _pl
   18:36
  20-Feb-                                       Refe ence info ma ion fo
   2010          dm doc              3.0        p od c   ha appl o hi
   20:01                                        doc men ha been pda ed
  20-Feb-                                       Refe ence info ma ion fo
   2010          dm doc                         p od c     ha appl o hi
   19:43                                        collec ion ha been pda ed
  18-Feb-                                       Refe ence info ma ion fo
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  18-Feb-                                       Refe ence info ma ion fo
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   08:52                                        collec ion ha been pda ed
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   2010     nickla _ p o ff ke       3.0        cd _pl
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  14-Feb-                                       Refe ence info ma ion fo
   2010          dm doc              3.0        p od c   ha appl o hi
   15:21                                        doc men ha been pda ed
  14-Feb-                                       Refe ence info ma ion fo
   2010          dm doc                         p od c     ha appl o hi
   15:02                                        collec ion ha been pda ed
  14-Feb-                                       Refe ence info ma ion fo
   2010          dm doc              3.0        p od c   ha appl o hi
   12:05                                        doc men ha been pda ed
  14-Feb-                                       Refe ence info ma ion fo
   2010          dm doc                         p od c     ha appl o hi
   11:43                                        collec ion ha been pda ed
  11-Feb-                                       Refe ence info ma ion fo
   2010          dm doc              3.0        p od c   ha appl o hi
   08:50                                        doc men ha been pda ed
  11-Feb-                                       Refe ence info ma ion fo
   2010          dm doc                         p od c     ha appl o hi
   08:24                                        collec ion ha been pda ed
  10-Feb-                                       Refe ence info ma ion fo
   2010          dm doc              3.0        p od c   ha appl o hi
   09:09                                        doc men ha been pda ed
  10-Feb-                                       Refe ence info ma ion fo
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   08:26                                        collec ion ha been pda ed
  09-Feb-        dm doc              3.0        Refe ence info ma ion fo
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   09:32                                        doc men ha been pda ed
  09-Feb-                                       Refe ence info ma ion fo
   2010          dm doc                         p od c     ha appl o hi
   08:42                                        collec ion ha been pda ed
  06-Feb-                                       Refe ence info ma ion fo
   2010          dm doc              3.0        p od c   ha appl o hi
   09:28                                        doc men ha been pda ed
  06-Feb-                                       Refe ence info ma ion fo
   2010          dm doc                         p od c     ha appl o hi
   08:42                                        collec ion ha been pda ed
  06-Feb-
                                                Doc men e     ac ed b
   2010     nickla _ p o ff ke       3.0        cd _pl
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  05-Feb-                                       Refe ence info ma ion fo
   2010          dm doc              3.0        p od c   ha appl o hi
   09:06                                        doc men ha been pda ed
  05-Feb-                                       Refe ence info ma ion fo
   2010          dm doc                         p od c     ha appl o hi
   08:24                                        collec ion ha been pda ed
  04-Feb-                                       Refe ence info ma ion fo
   2010          dm doc              3.0        p od c   ha appl o hi
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  04-Feb-                                       Refe ence info ma ion fo
   2010          dm doc                         p od c     ha appl o hi
   16:44                                        collec ion ha been pda ed
  04-Feb-                                       Refe ence info ma ion fo
   2010          dm doc              3.0        p od c   ha appl o hi
   12:47                                        doc men ha been pda ed
  04-Feb-                                       Refe ence info ma ion fo
   2010          dm doc                         p od c     ha appl o hi
   12:19                                        collec ion ha been pda ed
  01-Feb-                                       Refe ence info ma ion fo
   2010          dm doc              3.0        p od c   ha appl o hi
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  01-Feb-                                       Refe ence info ma ion fo
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   15:16                                        collec ion ha been pda ed
  01-Feb-                                       Refe ence info ma ion fo
   2010          dm doc              3.0        p od c   ha appl o hi
   12:07                                        doc men ha been pda ed
  01-Feb-                                       Refe ence info ma ion fo
   2010          dm doc                         p od c     ha appl o hi
   11:38                                        collec ion ha been pda ed
  30-Jan-
                                                Doc men e     ac ed b
   2010     nickla _ p o ff ke       3.0        cd _pl
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  27-Jan-                                       Refe ence info ma ion fo
   2010          dm doc              3.0        p od c   ha appl o hi
   09:04                                        doc men ha been pda ed
  27-Jan-                                       Refe ence info ma ion fo
   2010          dm doc                         p od c     ha appl o hi
   08:26                                        collec ion ha been pda ed
  26-Jan-                                       Refe ence info ma ion fo
   2010          dm doc              3.0        p od c   ha appl o hi
   09:15                                        doc men ha been pda ed
  26-Jan-                                       Refe ence info ma ion fo
   2010          dm doc                         p od c     ha appl o hi
   08:31                                        collec ion ha been pda ed
  24-Jan-
                                                Doc men e     ac ed b
   2010     nickla _ p o ff ke       3.0        cd _pl
   11:30
  23-Jan-                                       Refe ence info ma ion fo
   2010          dm doc              3.0        p od c   ha appl o hi
   09:16                                        doc men ha been pda ed
  23-Jan-                                       Refe ence info ma ion fo
   2010          dm doc                         p od c     ha appl o hi
   08:26                                        collec ion ha been pda ed
  22-Jan-
                                                Doc men e     ac ed b
   2010     nickla _ p o ff ke       3.0        cd _pl
   23:42
  22-Jan-                                       Refe ence info ma ion fo
   2010          dm doc              3.0        p od c   ha appl o hi
   09:55                                        doc men ha been pda ed
  22-Jan-                                       Refe ence info ma ion fo
   2010          dm doc                         p od c     ha appl o hi
   09:00                                        collec ion ha been pda ed
  20-Jan-                                       Refe ence info ma ion fo
   2010          dm doc              3.0        p od c   ha appl o hi
   09:27                                        doc men ha been pda ed
  20-Jan-                                       Refe ence info ma ion fo
   2010          dm doc                         p od c     ha appl o hi
   08:38                                        collec ion ha been pda ed
  15-Jan-
                                                Doc men e     ac ed b
   2010     nickla _ p o ff ke       3.0        cd _pl
   20:10
  15-Jan-                                       Refe ence info ma ion fo
   2010          dm doc              3.0        p od c   ha appl o hi
   08:44                                        doc men ha been pda ed
  15-Jan-                                       Refe ence info ma ion fo
   2010          dm doc                         p od c     ha appl o hi
   08:16                                        collec ion ha been pda ed
  14-Jan-                                       Refe ence info ma ion fo
   2010          dm doc              3.0        p od c   ha appl o hi
   13:41                                        doc men ha been pda ed
  14-Jan-                                       Refe ence info ma ion fo
   2010          dm doc                         p od c     ha appl o hi
   13:34                                        collec ion ha been pda ed
  14-Jan-                                       Refe ence info ma ion fo
   2010          dm doc              3.0        p od c   ha appl o hi
   12:49                                        doc men ha been pda ed
  14-Jan-        dm doc                         Refe ence info ma ion fo
   2010                                         p od c   ha appl o hi


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   12:36                                        collec ion ha been pda ed
  14-Jan-                                       Refe ence info ma ion fo
   2010          dm doc              3.0        p od c   ha appl o hi
   05:57                                        doc men ha been pda ed
  14-Jan-                                       Refe ence info ma ion fo
   2010          dm doc                         p od c     ha appl o hi
   05:40                                        collec ion ha been pda ed
  12-Jan-                                       Refe ence info ma ion fo
   2010          dm doc              3.0        p od c   ha appl o hi
   09:23                                        doc men ha been pda ed
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  10-Jan-
                                                Doc men e     ac ed b
   2010     nickla _ p o ff ke       3.0        cd _pl
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  08-Jan-                                       Refe ence info ma ion fo
   2010          dm doc              3.0        p od c   ha appl o hi
   08:50                                        doc men ha been pda ed
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   2010          dm doc                         p od c     ha appl o hi
   08:20                                        collec ion ha been pda ed
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   2010     nickla _ p o ff ke       3.0        cd _pl
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  06-Jan-                                       Refe ence info ma ion fo
   2010          dm doc              3.0        p od c   ha appl o hi
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   2010          dm doc              3.0        p od c   ha appl o hi
   08:55                                        doc men ha been pda ed
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   08:16                                        collec ion ha been pda ed
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   2009     nickla _ p o ff ke       3.0        cd _pl
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   2009          dm doc              3.0        p od c   ha appl o hi
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  19-Dec-                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   08:36                                        collec ion ha been pda ed
  18-Dec-
                                                Doc men e     ac ed b
   2009     nickla _ p o ff ke       3.0        cd _pl
   10:43
  18-Dec-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   09:24                                        doc men ha been pda ed
  18-Dec-                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   09:00                                        collec ion ha been pda ed
  17-Dec-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   09:28                                        doc men ha been pda ed
  17-Dec-                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   08:32                                        collec ion ha been pda ed
  16-Dec-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   08:56                                        doc men ha been pda ed
  16-Dec-                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   08:33                                        collec ion ha been pda ed
  16-Dec-
                                                Doc men e     ac ed b
   2009     nickla _ p o ff ke       3.0        cd _pl
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  15-Dec-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   18:54                                        doc men ha been pda ed
  15-Dec-                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   18:47                                        collec ion ha been pda ed
  15-Dec-
                                                Doc men e     ac ed b
   2009     nickla _ p o ff ke       3.0        cd _pl
   11:39
  15-Dec-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   09:21                                        doc men ha been pda ed
  15-Dec-                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   09:02                                        collec ion ha been pda ed
  14-Dec-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   20:59                                        doc men ha been pda ed
  14-Dec-                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   20:25                                        collec ion ha been pda ed
  01-Dec-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   09:46                                        doc men ha been pda ed
  01-Dec-                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   08:38                                        collec ion ha been pda ed
  26-No -        dm doc              3.0        Refe ence info ma ion fo
   2009                                         p od c   ha appl o hi


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   19:17                                        doc men ha been pda ed
  26-No -                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   18:31                                        collec ion ha been pda ed
  26-No -                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   14:18                                        doc men ha been pda ed
  26-No -                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   13:43                                        collec ion ha been pda ed
  24-No -
                                                Doc men e     ac ed b
   2009     nickla _ p o ff ke       3.0        cd _pl
   22:51
  24-No -                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   09:48                                        doc men ha been pda ed
  24-No -                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   08:53                                        collec ion ha been pda ed
  23-No -
                                                Doc men e     ac ed b
   2009     nickla _ p o ff ke       3.0        cd _pl
   00:29
  22-No -                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   08:42                                        doc men ha been pda ed
  22-No -                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   08:10                                        collec ion ha been pda ed
  21-No -
                                                Doc men e     ac ed b
   2009     nickla _ p o ff ke       3.0        cd _pl
   22:06
  20-No -                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   09:59                                        doc men ha been pda ed
  20-No -                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   09:33                                        collec ion ha been pda ed
  13-No -
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   2009     nickla _ p o ff ke       3.0        cd _pl
   18:12
  11-No -                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   09:12                                        doc men ha been pda ed
  11-No -                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   08:33                                        collec ion ha been pda ed
  10-No -
                                                Doc men e     ac ed b
   2009     nickla _ p o ff ke       3.0        cd _pl
   21:11
  10-No -                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   09:41                                        doc men ha been pda ed
  10-No -                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   08:51                                        collec ion ha been pda ed
  09-No -                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   08:39                                        doc men ha been pda ed
  09-No -                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   08:05                                        collec ion ha been pda ed
  08-No -
                                                Doc men e     ac ed b
   2009     nickla _ p o ff ke       3.0        cd _pl
   17:05
  08-No -                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   07:05                                        doc men ha been pda ed
  08-No -                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   06:40                                        collec ion ha been pda ed
  03-No -
                                                Doc men e     ac ed b
   2009     nickla _ p o ff ke       3.0        cd _pl
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  02-No -                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   09:04                                        doc men ha been pda ed
  02-No -                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   08:20                                        collec ion ha been pda ed
  31-Oc -
                                                Doc men e     ac ed b
   2009     nickla _ p o ff ke       3.0        cd _pl
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   2009     nickla _ p o ff ke       3.0        cd _pl
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  29-Oc -                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   09:58                                        doc men ha been pda ed
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   09:15                                        collec ion ha been pda ed
  28-Oc -                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   10:28                                        doc men ha been pda ed
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   2009          dm doc                         p od c     ha appl o hi
   09:26                                        collec ion ha been pda ed
  27-Oc -                                       Refe ence info ma ion fo
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   09:38                                        doc men ha been pda ed
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   09:07                                        collec ion ha been pda ed
  23-Oc -                                       Refe ence info ma ion fo
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   10:02                                        doc men ha been pda ed
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   2009          dm doc                         p od c     ha appl o hi
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  22-Oc -                                       Refe ence info ma ion fo
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   09:35                                        collec ion ha been pda ed
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   2009          dm doc              3.0        p od c   ha appl o hi
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   2009     nickla _ p o ff ke       3.0        cd _pl
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  13-Oc -                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   10:27                                        doc men ha been pda ed
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   2009     nickla _ p o ff ke       3.0        cd _pl
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   2009          dm doc              3.0        p od c   ha appl o hi
   17:27                                        doc men ha been pda ed
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   2009          dm doc                         p od c     ha appl o hi
   17:01                                        collec ion ha been pda ed
  07-Oc -                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   14:01                                        doc men ha been pda ed
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   2009          dm doc              3.0        p od c   ha appl o hi
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  02-Oc -                                       Refe ence info ma ion fo
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  01-Oc -                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   09:56                                        doc men ha been pda ed
  01-Oc -                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   09:21                                        collec ion ha been pda ed
  30-Sep-                                       Refe ence info ma ion fo
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   09:57                                        collec ion ha been pda ed
  29-Sep-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
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   2009          dm doc                         p od c     ha appl o hi
   09:10                                        collec ion ha been pda ed
  26-Sep-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   09:32                                        doc men ha been pda ed
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   09:10                                        collec ion ha been pda ed
  25-Sep-                                       Refe ence info ma ion fo
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  24-Sep-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   10:34                                        doc men ha been pda ed
  24-Sep-                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   10:04                                        collec ion ha been pda ed
  23-Sep-                                       Refe ence info ma ion fo
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   10:25                                        doc men ha been pda ed
  23-Sep-                                       Refe ence info ma ion fo
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  21-Sep-                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
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  18-Sep-                                       Refe ence info ma ion fo
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   09:39                                        doc men ha been pda ed
  18-Sep-                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   09:08                                        collec ion ha been pda ed
  17-Sep-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
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   09:28                                        collec ion ha been pda ed
  16-Sep-                                       Refe ence info ma ion fo
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   2009          dm doc                         p od c     ha appl o hi
   09:05                                        collec ion ha been pda ed
  15-Sep-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
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   10:06                                        collec ion ha been pda ed
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  13-Sep-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   09:40                                        doc men ha been pda ed
  13-Sep-                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   09:15                                        collec ion ha been pda ed
  11-Sep-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   09:46                                        doc men ha been pda ed
  11-Sep-                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   09:22                                        collec ion ha been pda ed
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   2009          dm doc              3.0        p od c   ha appl o hi
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  10-Sep-                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   09:54                                  collec ion ha been pda ed
  09-Sep-                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
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  09-Sep-                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   09:33                                  collec ion ha been pda ed
  06-Sep-                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
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  06-Sep-                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   08:57                                  collec ion ha been pda ed
  04-Sep-                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
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  04-Sep-                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   09:11                                  collec ion ha been pda ed
  03-Sep-                                 Refe ence info ma ion fo
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  02-Sep-                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   05:56                                  collec ion ha been pda ed
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   23:48                                  collec ion ha been pda ed
  26-A g-                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   10:18                                  doc men ha been pda ed
  26-A g-                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   09:40                                  collec ion ha been pda ed
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   2009       dm doc           3.0        p od c   ha appl o hi
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   10:11                                  collec ion ha been pda ed
  16-A g-                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   09:44                                  doc men ha been pda ed
  16-A g-                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   09:14                                  collec ion ha been pda ed
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   2009       dm doc                      p od c     ha appl o hi
   09:25                                  collec ion ha been pda ed
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   09:24                                  collec ion ha been pda ed
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   2009       dm doc           3.0        p od c   ha appl o hi
   10:23                                  doc men ha been pda ed
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   2009       dm doc                      p od c     ha appl o hi
   09:51                                  collec ion ha been pda ed
  08-A g-                                 Refe ence info ma ion fo
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   2009       dm doc                      p od c     ha appl o hi
   09:00                                  collec ion ha been pda ed
  07-A g-                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
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   2009       dm doc           3.0        p od c   ha appl o hi
   14:09                                  doc men ha been pda ed
  07-A g-                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   13:58                                  collec ion ha been pda ed
  03-A g-                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   18:09                                  doc men ha been pda ed


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  03-A g-                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   17:54                                  collec ion ha been pda ed
  31-J l-                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
  16:49                                   doc men ha been pda ed
  31-J l-                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
  16:27                                   collec ion ha been pda ed
  18-J l-                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
  02:40                                   doc men ha been pda ed
  18-J l-                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
  02:29                                   collec ion ha been pda ed
  11-J l-                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
  10:11                                   doc men ha been pda ed
  11-J l-                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
  09:43                                   collec ion ha been pda ed
  10-J l-                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
  12:21                                   doc men ha been pda ed
  10-J l-                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
  11:37                                   collec ion ha been pda ed
  10-J l-                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
  07:32                                   doc men ha been pda ed
  10-J l-                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
  07:20                                   collec ion ha been pda ed
  04-J l-                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
  09:34                                   doc men ha been pda ed
  04-J l-                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
  09:10                                   collec ion ha been pda ed
  03-J l-                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
  10:02                                   doc men ha been pda ed
  03-J l-                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
  09:33                                   collec ion ha been pda ed
  30-J n-                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   09:46                                  doc men ha been pda ed
  30-J n-                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   09:24                                  collec ion ha been pda ed
  27-J n-                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   09:09                                  doc men ha been pda ed
  27-J n-                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   08:50                                  collec ion ha been pda ed
  26-J n-                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   10:11                                  doc men ha been pda ed
  26-J n-                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   10:00                                  collec ion ha been pda ed
  24-J n-                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   09:34                                  doc men ha been pda ed
  24-J n-                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   09:11                                  collec ion ha been pda ed
  23-J n-                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   09:57                                  doc men ha been pda ed
  23-J n-                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   09:22                                  collec ion ha been pda ed
  20-J n-                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   10:26                                  doc men ha been pda ed
  20-J n-                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   09:58                                  collec ion ha been pda ed
  19-J n-                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   13:24                                  doc men ha been pda ed
  19-J n-                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   12:58                                  collec ion ha been pda ed
  17-J n-                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   12:14                                  doc men ha been pda ed
  17-J n-                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   11:44                                  collec ion ha been pda ed
  13-J n-                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   09:04                                  doc men ha been pda ed
  13-J n-                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   08:45                                  collec ion ha been pda ed
  12-J n-                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   09:08                                  doc men ha been pda ed


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  12-J n-                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   08:44                                  collec ion ha been pda ed
  11-J n-                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   09:21                                  doc men ha been pda ed
  11-J n-                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   09:00                                  collec ion ha been pda ed
  10-J n-                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   09:36                                  doc men ha been pda ed
  10-J n-                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   09:06                                  collec ion ha been pda ed
  09-J n-                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   09:21                                  doc men ha been pda ed
  09-J n-                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   09:06                                  collec ion ha been pda ed
  06-J n-                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   08:58                                  doc men ha been pda ed
  06-J n-                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   08:40                                  collec ion ha been pda ed
  05-J n-                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   09:48                                  doc men ha been pda ed
  05-J n-                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   09:19                                  collec ion ha been pda ed
  04-J n-                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   10:13                                  doc men ha been pda ed
  04-J n-                                 Refe ence info ma ion fo
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   09:49                                  collec ion ha been pda ed
  03-J n-                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
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   09:43                                  collec ion ha been pda ed
  02-J n-                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   09:37                                  doc men ha been pda ed
  02-J n-                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   09:15                                  collec ion ha been pda ed
  30-Ma -                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
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   2009       dm doc                      p od c     ha appl o hi
   08:49                                  collec ion ha been pda ed
  29-Ma -                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   09:47                                  doc men ha been pda ed
  29-Ma -                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   09:16                                  collec ion ha been pda ed
  28-Ma -                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   09:35                                  doc men ha been pda ed
  28-Ma -                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   09:08                                  collec ion ha been pda ed
  27-Ma -                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   09:42                                  doc men ha been pda ed
  27-Ma -                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   09:15                                  collec ion ha been pda ed
  26-Ma -                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   19:36                                  doc men ha been pda ed
  26-Ma -                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   19:07                                  collec ion ha been pda ed
  21-Ma -                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   08:27                                  doc men ha been pda ed
  21-Ma -                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   07:59                                  collec ion ha been pda ed
  16-Ma -                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   09:23                                  doc men ha been pda ed
  16-Ma -                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   09:00                                  collec ion ha been pda ed
  15-Ma -                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   09:58                                  doc men ha been pda ed
  15-Ma -                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   09:31                                  collec ion ha been pda ed
  12-Ma -                                 Refe ence info ma ion fo
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   09:49                                  doc men ha been pda ed


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  12-Ma -                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   09:24                                  collec ion ha been pda ed
  11-Ma -                                 Refe ence info ma ion fo
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   17:06                                  doc men ha been pda ed
  11-Ma -                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   16:55                                  collec ion ha been pda ed
  02-Ma -                                 Refe ence info ma ion fo
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  02-Ma -                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   09:54                                  collec ion ha been pda ed
  30-Ap -                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   13:14                                  doc men ha been pda ed
  30-Ap -                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   13:10                                  collec ion ha been pda ed
  30-Ap -                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   09:11                                  doc men ha been pda ed
  30-Ap -                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   08:51                                  collec ion ha been pda ed
  29-Ap -                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   09:12                                  doc men ha been pda ed
  29-Ap -                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   08:56                                  collec ion ha been pda ed
  28-Ap -                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   09:50                                  doc men ha been pda ed
  28-Ap -                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   09:27                                  collec ion ha been pda ed
  25-Ap -                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   15:10                                  doc men ha been pda ed
  25-Ap -                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   14:49                                  collec ion ha been pda ed
  24-Ap -                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   09:01                                  doc men ha been pda ed
  24-Ap -                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   08:45                                  collec ion ha been pda ed
  23-Ap -                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
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  22-Ap -                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   09:20                                  doc men ha been pda ed
  22-Ap -                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   08:55                                  collec ion ha been pda ed
  21-Ap -                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   09:32                                  doc men ha been pda ed
  21-Ap -                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   09:17                                  collec ion ha been pda ed
  18-Ap -                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   09:43                                  doc men ha been pda ed
  18-Ap -                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   09:19                                  collec ion ha been pda ed
  16-Ap -                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   09:43                                  doc men ha been pda ed
  16-Ap -                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   09:15                                  collec ion ha been pda ed
  14-Ap -                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   09:30                                  doc men ha been pda ed
  14-Ap -                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   09:04                                  collec ion ha been pda ed
  11-Ap -                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   08:56                                  doc men ha been pda ed
  11-Ap -                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   08:41                                  collec ion ha been pda ed
  09-Ap -                                 Refe ence info ma ion fo
   2009       dm doc           3.0        p od c   ha appl o hi
   09:08                                  doc men ha been pda ed
  09-Ap -                                 Refe ence info ma ion fo
   2009       dm doc                      p od c     ha appl o hi
   08:48                                  collec ion ha been pda ed
  08-Ap -                                 Refe ence info ma ion fo
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  08-Ap -                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   09:02                                        collec ion ha been pda ed
  07-Ap -                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   09:24                                        doc men ha been pda ed
  07-Ap -                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   09:00                                        collec ion ha been pda ed
  02-Ap -                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   09:08                                        doc men ha been pda ed
  02-Ap -                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   08:54                                        collec ion ha been pda ed
  31-Ma -                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   09:58                                        doc men ha been pda ed
  31-Ma -                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   09:33                                        collec ion ha been pda ed
  28-Ma -                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   09:01                                        doc men ha been pda ed
  28-Ma -                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   08:48                                        collec ion ha been pda ed
  27-Ma -                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   08:56                                        doc men ha been pda ed
  27-Ma -                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   08:45                                        collec ion ha been pda ed
  25-Ma -                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   09:17                                        doc men ha been pda ed
  25-Ma -                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   08:57                                        collec ion ha been pda ed
  24-Ma -                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   09:44                                        doc men ha been pda ed
  24-Ma -                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   09:23                                        collec ion ha been pda ed
  23-Ma -                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   08:42                                        doc men ha been pda ed
  23-Ma -                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   08:37                                        collec ion ha been pda ed
  22-Ma -                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   09:02                                        doc men ha been pda ed
  22-Ma -                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   08:47                                        collec ion ha been pda ed
  19-Ma -                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   09:46                                        doc men ha been pda ed
  19-Ma -                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   09:17                                        collec ion ha been pda ed
  17-Ma -                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   09:41                                        doc men ha been pda ed
  17-Ma -                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   09:13                                        collec ion ha been pda ed
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   2009          dm doc              3.0        p od c   ha appl o hi
   09:06                                        doc men ha been pda ed
  13-Ma -                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   08:46                                        collec ion ha been pda ed
  12-Ma -                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   09:16                                        doc men ha been pda ed
  12-Ma -                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   09:02                                        collec ion ha been pda ed
  11-Ma -                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   09:06                                        doc men ha been pda ed
  11-Ma -                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   08:48                                        collec ion ha been pda ed
  10-Ma -                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   09:59                                        doc men ha been pda ed
  10-Ma -                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   09:37                                        collec ion ha been pda ed
  06-Ma -                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   08:37                                        doc men ha been pda ed
  06-Ma -                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   08:12                                        collec ion ha been pda ed


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  05-Ma -                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   16:03                                        doc men ha been pda ed
  05-Ma -                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   15:55                                        collec ion ha been pda ed
  28-Feb-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   07:50                                        doc men ha been pda ed
  28-Feb-                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   07:38                                        collec ion ha been pda ed
  27-Feb-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   08:13                                        doc men ha been pda ed
  27-Feb-                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   07:53                                        collec ion ha been pda ed
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                                                Doc men e    ac ed b
   2009     nickla _ p o ff ke       3.0        cd _pl
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  25-Feb-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   08:33                                        doc men ha been pda ed
  25-Feb-                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   08:08                                        collec ion ha been pda ed
  24-Feb-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   08:23                                        doc men ha been pda ed
  24-Feb-                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   08:02                                        collec ion ha been pda ed
  23-Feb-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   12:11                                        doc men ha been pda ed
  23-Feb-                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   12:08                                        collec ion ha been pda ed
  21-Feb-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   07:54                                        doc men ha been pda ed
  21-Feb-                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   07:44                                        collec ion ha been pda ed
  20-Feb-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   08:10                                        doc men ha been pda ed
  20-Feb-                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   07:51                                        collec ion ha been pda ed
  19-Feb-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   08:18                                        doc men ha been pda ed
  19-Feb-                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   08:04                                        collec ion ha been pda ed
  18-Feb-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   09:10                                        doc men ha been pda ed
  18-Feb-                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   08:38                                        collec ion ha been pda ed
  14-Feb-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   08:27                                        doc men ha been pda ed
  14-Feb-                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   08:00                                        collec ion ha been pda ed
  12-Feb-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   08:21                                        doc men ha been pda ed
  12-Feb-                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   08:01                                        collec ion ha been pda ed
  11-Feb-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   08:17                                        doc men ha been pda ed
  11-Feb-                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   07:58                                        collec ion ha been pda ed
  10-Feb-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   12:41                                        doc men ha been pda ed
  10-Feb-                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   12:36                                        collec ion ha been pda ed
  10-Feb-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   08:33                                        doc men ha been pda ed
  10-Feb-                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   08:12                                        collec ion ha been pda ed
  09-Feb-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   18:13                                        doc men ha been pda ed
  09-Feb-                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   18:11                                        collec ion ha been pda ed


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  09-Feb-
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   2009     nickla _ p o ff ke       3.0        cd _pl
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   2009     nickla _ p o ff ke       3.0        cd _pl
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   2009          dm doc              3.0        p od c   ha appl o hi
   08:25                                        doc men ha been pda ed
  06-Feb-                                       Refe ence info ma ion fo
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  05-Feb-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
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  03-Feb-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   12:15                                        doc men ha been pda ed
  03-Feb-                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   12:10                                        collec ion ha been pda ed
  03-Feb-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   09:14                                        doc men ha been pda ed
  03-Feb-                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   08:45                                        collec ion ha been pda ed
  30-Jan-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   08:20                                        doc men ha been pda ed
  30-Jan-                                       Refe ence info ma ion fo
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  29-Jan-                                       Refe ence info ma ion fo
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  29-Jan-                                       Refe ence info ma ion fo
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   07:56                                        collec ion ha been pda ed
  28-Jan-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   08:30                                        doc men ha been pda ed
  28-Jan-                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   08:06                                        collec ion ha been pda ed
  27-Jan-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   08:47                                        doc men ha been pda ed
  27-Jan-                                       Refe ence info ma ion fo
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  24-Jan-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   07:52                                        doc men ha been pda ed
  24-Jan-                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   07:40                                        collec ion ha been pda ed
  23-Jan-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
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  21-Jan-                                       Refe ence info ma ion fo
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   08:16                                        doc men ha been pda ed
  17-Jan-                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
   07:55                                        collec ion ha been pda ed
  16-Jan-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
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  16-Jan-                                       Refe ence info ma ion fo
   2009          dm doc                         p od c     ha appl o hi
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  14-Jan-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
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   08:01                                        collec ion ha been pda ed
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   2009          dm doc              3.0        p od c   ha appl o hi
   08:39                                        doc men ha been pda ed
  13-Jan-                                       Refe ence info ma ion fo
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   08:16                                        collec ion ha been pda ed
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  09-Jan-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   08:17                                        doc men ha been pda ed
  09-Jan-                                       Refe ence info ma ion fo
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   07:58                                        collec ion ha been pda ed
  08-Jan-                                       Refe ence info ma ion fo
   2009          dm doc              3.0        p od c   ha appl o hi
   08:21                                        doc men ha been pda ed
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   2009          dm doc                         p od c     ha appl o hi
   08:00                                        collec ion ha been pda ed
  06-Jan-                                       Refe ence info ma ion fo
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   2008     nickla _ p o ff ke       3.0        cd _pl
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   2008          dm doc              3.0        p od c   ha appl o hi
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  19-Dec-                                       Refe ence info ma ion fo
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   08:05                                        collec ion ha been pda ed
  18-Dec-                                       Refe ence info ma ion fo
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   2008          dm doc              3.0        p od c   ha appl o hi
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   08:10                                        collec ion ha been pda ed
  16-Dec-                                       Refe ence info ma ion fo
   2008          dm doc              3.0        p od c   ha appl o hi
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   08:00                                        collec ion ha been pda ed
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  12-Dec-                                       Refe ence info ma ion fo
   2008          dm doc              3.0        p od c   ha appl o hi
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   07:55                                        collec ion ha been pda ed
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   2008          dm doc              3.0        p od c   ha appl o hi
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  10-Dec-                                       Refe ence info ma ion fo
   2008          dm doc                         p od c     ha appl o hi
   08:51                                        collec ion ha been pda ed
  06-Dec-                                       Refe ence info ma ion fo
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  06-Dec-
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   2008     nickla _ p o ff ke       3.0        cd _pl
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  04-Dec-                                       Refe ence info ma ion fo
   2008          dm doc              3.0        p od c   ha appl o hi
   14:40                                        doc men ha been pda ed
  04-Dec-                                       Refe ence info ma ion fo
   2008          dm doc                         p od c     ha appl o hi
   14:21                                        collec ion ha been pda ed
  02-Dec-                                       Refe ence info ma ion fo
   2008          dm doc              3.0        p od c   ha appl o hi
   08:43                                        doc men ha been pda ed
  02-Dec-                                       Refe ence info ma ion fo
   2008          dm doc                         p od c     ha appl o hi
   08:24                                        collec ion ha been pda ed
  27-No -                                       Refe ence info ma ion fo
   2008          dm doc              3.0        p od c   ha appl o hi
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  27-No -                                       Refe ence info ma ion fo
   2008          dm doc                         p od c     ha appl o hi
   07:54                                        collec ion ha been pda ed
  26-No -                                       Refe ence info ma ion fo
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   08:07                                        collec ion ha been pda ed
  25-No -                                       Refe ence info ma ion fo
   2008          dm doc              3.0        p od c   ha appl o hi
   03:55                                        doc men ha been pda ed
  25-No -                                       Refe ence info ma ion fo
   2008          dm doc                         p od c     ha appl o hi
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  22-No -                                       Refe ence info ma ion fo
   2008          dm doc              3.0        p od c   ha appl o hi
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  22-No -                                       Refe ence info ma ion fo
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   07:39                                        collec ion ha been pda ed
  21-No -                                       Refe ence info ma ion fo
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   07:52                                        doc men ha been pda ed
  21-No -                                       Refe ence info ma ion fo
   2008          dm doc                         p od c     ha appl o hi
   07:39                                        collec ion ha been pda ed
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   2008          dm doc              3.0        p od c   ha appl o hi
   08:50                                        doc men ha been pda ed
  20-No -                                       Refe ence info ma ion fo
   2008          dm doc                         p od c     ha appl o hi
   08:32                                        collec ion ha been pda ed
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                                                Doc men e    ac ed b
   2008     nickla _ p o ff ke       3.0        cd _pl
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  19-No -                                       Refe ence info ma ion fo
   2008          dm doc              3.0        p od c   ha appl o hi
   08:26                                        doc men ha been pda ed
  19-No -                                       Refe ence info ma ion fo
   2008          dm doc                         p od c     ha appl o hi
   08:06                                        collec ion ha been pda ed
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   2008     nickla _ p o ff ke       3.0        cd _pl
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   2008          dm doc              3.0        p od c   ha appl o hi
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  17-No -                                       Refe ence info ma ion fo
   2008          dm doc                         p od c     ha appl o hi
   18:11                                        collec ion ha been pda ed
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                                                Doc men e    ac ed b
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   2008     nickla _ p o ff ke       3.0        cd _pl
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  14-No -                                       Refe ence info ma ion fo
   2008          dm doc              3.0        p od c   ha appl o hi
   08:00                                        doc men ha been pda ed
  14-No -                                       Refe ence info ma ion fo
   2008          dm doc                         p od c     ha appl o hi
   07:46                                        collec ion ha been pda ed
  13-No -
                                                Doc men e    ac ed b
   2008     nickla _ p o ff ke       3.0        cd _pl
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  13-No -                                       Refe ence info ma ion fo
   2008          dm doc              3.0        p od c   ha appl o hi
   07:50                                        doc men ha been pda ed
  13-No -                                       Refe ence info ma ion fo
   2008          dm doc                         p od c     ha appl o hi
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   10:26                                         pda e of i p ope ie .
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   2008         e le _dale           3.0        ha been affec ed b a di ec       P od c   pda ed.
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   2008          dm doc              3.0        p od c   ha appl o hi
   08:43                                        doc men ha been pda ed
  12-No -                                       Refe ence info ma ion fo
   2008          dm doc                         p od c     ha appl o hi
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  09-No -                                       Refe ence info ma ion fo
   2008          dm doc              3.0        p od c   ha appl o hi
   07:55                                        doc men ha been pda ed
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   2008          dm doc                         p od c     ha appl o hi
   07:40                                        collec ion ha been pda ed
  05-No -                                       Refe ence info ma ion fo
   2008          dm doc              3.0        p od c   ha appl o hi
   10:09                                        doc men ha been pda ed
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   2008          dm doc                         p od c     ha appl o hi
   09:44                                        collec ion ha been pda ed
  04-No -                                       Refe ence info ma ion fo
   2008          dm doc              3.0        p od c   ha appl o hi
   10:53                                        doc men ha been pda ed
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   2008          dm doc                         p od c     ha appl o hi
   10:41                                        collec ion ha been pda ed
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   2008          dm doc              3.0        p od c   ha appl o hi
   10:55                                        doc men ha been pda ed
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   10:31                                        collec ion ha been pda ed
  24-Oc -                                       Refe ence info ma ion fo
   2008          dm doc              3.0        p od c   ha appl o hi
   09:07                                        doc men ha been pda ed
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   2008          dm doc                         p od c     ha appl o hi
   08:53                                        collec ion ha been pda ed
  23-Oc -                                       Refe ence info ma ion fo
   2008          dm doc              3.0        p od c   ha appl o hi
   10:01                                        doc men ha been pda ed
  23-Oc -                                       Refe ence info ma ion fo
   2008          dm doc                         p od c     ha appl o hi
   09:45                                        collec ion ha been pda ed
  21-Oc -                                       Refe ence info ma ion fo
   2008          dm doc              3.0        p od c   ha appl o hi
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   09:27                                        collec ion ha been pda ed
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   04:21                                        collec ion ha been pda ed
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   04:09                                        collec ion ha been pda ed
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  30-Sep-                                 Refe ence info ma ion fo
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   09:05                                  collec ion ha been pda ed
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